Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                           Document Page 1 of 63

                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

  ---------------------------------------------------------------------- X
                                                                         :
  In re:                                                                 :
                                                                         :
  THE FINANCIAL OVERSIGHT AND                                            : PROMESA
  MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                         :
                    as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                         :
  THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                         :
                    Debtors.1                                            :
  ---------------------------------------------------------------------- X

                                        CERTIFICATE OF SERVICE

  I, Winnie Wu, hereby certify that I am over the age of eighteen years old and employed by Paul
  Hastings LLP and that on June 21, 2021, I caused to be served the following document by
  sending a true and correct copy by e-mail on the parties listed on Exhibit A and by first class
  mail on the parties listed on Exhibit B. In addition, a true and correct copy of the following
  documents was electronically served via the CM/ECF system on all counsel of record.

         Statement of Official Committee of Unsecured Creditors in Connection With (I) Ambac
          Assurance Corporation’s Urgent Motion for Briefing Schedule With Respect to Objection
          of Ambac Assurance Corporation, Pursuant To Bankruptcy Code Section 502 and
          Bankruptcy Rule 3007, To Claim Asserted by Official Committee of Retired Employees
          of Commonwealth of Puerto Rico Appointed in Commonwealth’s Title III Case and (II)
          Objections Thereto [Docket No. 17120].

  Dated: June 22, 2021
                                                                    /s/Winnie Wu
                                                                      Winnie Wu




  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (Bankruptcy Case No. 17-BK-3283- LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
      Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of
      Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
      No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
      Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last
      Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case
      No. 17- BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings
      Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title
      III case numbers are listed as Bankruptcy Case numbers due to software limitations).
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                            Document Page 2 of 63



                                                                   EXHIBIT A
                                                                    Via E-mail

DESCRIPTION                                      NAME                          NOTICE NAME                  EMAIL
PBA Top 20 Creditor                              A & E Group, Corp.            Attn: President or General   rebecabarnes@bufetebarnes.com
                                                                               Counsel

Co-Attorney for the Financial Oversight and      A&S Legal Studio, PSC         Attn: Ricardo Burgos-        rburgos@adameslaw.com
Management Board as representative of the                                      Vargas
Debtors
PBA Top 20 Creditor                              Adm. Servicios Generales      Attn: President or General   finanzas@asg.pr.gov
                                                                               Counsel

Counsel to National Public Finance Guarantee     Adsuar Muniz Goyco Seda       Attn: Eric Perez Ochoa,      epo@amgprlaw.com
Corp.                                            & Perez-Ochoa, PSC            Luis A. Oliver-Fraticelli    loliver@amgprlaw.com

Counsel to National Public Finance Guarantee     Adsuar Muniz Goyco Seda       Attn: Eric Pérez-Ochoa,      epo@amgprlaw.com
Corporation, Aurelius Investment, LLC,           & Perez-Ochoa, PSC            Lourdes Arroyo Portela,      larroyo@amgprlaw.com
Aurelius Opportunities Fund, LLC, Lex Claims,                                  Alexandra Casellas-          acasellas@amgprlaw.com
LLC, and Voya Institutional Trust Company,                                     Cabrera, Katarina Stipec     loliver@amgprlaw.com
Voya Institutional Trust Company, Plaintiff in                                 Rubio, Sharlene M.           kstipec@amgprlaw.com
Adversary Proceeding 17-00216, Abengoa S.A.                                    Malavé-Vallines, Pedro       pjime@icepr.com
and Abengoa Puerto Rico, S.E., and                                             Jimenez-Rodriguez, &
Consolidated Waste Services LLC                                                Luis A. Oliver Fraticelli


Aguirre Offshore Gasport, LLC                    Aguirre Offshore Gasport,     Attn: Daniel Bustos,         daniel.bustos@excelerateenergy.com
                                                 LLC                           Chief Development
                                                                               Officer
Co-counsel to Cobra Acquisitions LLC             Akin Gump Strauss Hauer       Attn: Ira S. Dizengoff,      idizengoff@akingump.com
                                                 & Feld LLP                    Philip C. Dublin, Stephen    pdublin@akingump.com
                                                                               M. Baldini                   sbaldini@akingump.com

Co-counsel to Cobra Acquisitions LLC             Akin Gump Strauss Hauer       Attn: Thomas P. McLish,      tmclish@akingump.com
                                                 & Feld LLP                    Scott M. Heimberg,           sheimberg@akingump.com
                                                                               Allison S. Thornton          athornton@akingump.com




                                                                         -1-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 3 of 63


Counsel to Thomas Rivera - Schatz, in his          Aldarondo & López-Bras,         Attn: Ivan M. Castro        icastro@alblegal.net
official capacity and on behalf of the Senate of   P.S.C.                          Ortiz, Sheila J. Torres-    storres@alblegal.net
Puerto Rico, Plaintiff in Adversary Proceeding                                     Delgado, Claudio Aliff-     ealdarondo@alblegal.net
18-00081/Defendant in Adv Case 19-00014 and                                        Ortiz, Eliezer Aldarondo-   drodriguez.alb@gmail.com
Counsel to proposed Intervenor-Defendant                                           Ortiz, David R.             drodriguez@alblegal.net
Federación de Alcaldes de Puerto Rico, Inc. in                                     Rodríguez-Burns
Adversary Proceeding 19-00393
Counsel to Salvador Rovira Rodriguez, Salvador     Alexandra Bigas Valedon                                     alexandra.bigas@gmail.com
Rovira Rodriguez Attorneys at Law and Puerto
Rico Legal Advocates, PSC
Counsel to Alianza Comunitaria Ambientalista       Alianza Comunitaria             Attn: Timmy Boyle           acasepr@gmail.com
del Sureste, Inc. (ACASE)                          Ambientalista del Sureste,
                                                   Inc.
Counsel to Cooperativa De Ahorro Y Credito         Almeida & Dávila, P.S.C.        Attn: Enrique M. Almeida    ealmeida@almeidadavila.com
Dr. Manuel Zeno Gandia, Cooperativa De                                             Bernal and Zelma Dávila     zdavila@almeidadavila.com
Ahorro Y Credito Abraham Rosa, Cooperativa                                         Carrasquillo                enrique.almeida@almeidadavila.com
De Ahorro Y Credito De Aguada, Cooperativa
De Ahorro Y Credito Vega Alta, Cooperativa
De Ahorro Y Credito El Valenciano, Fidecoop,
Cooperativa De Ahorro Y Credito De Rincon,
Cooperativa De Ahorro Y Credito De Lares Y
Region Central, Fondo de Inversión y Desarrollo
Cooperativo, Inc., Cooperativa De Ahorro Y
Credito De Ciales, Cooperativa De Ahorro Y
Credito Juana Diaz
Counsel to American Federation of State,           American Federation of          Attn: Judith Rivlin,        jrivlin@afscme.org
County and Municipal Employees, Intervenor in      State, County and Municipal     Teague P. Paterson, &       tpaterson@afscme.org
Adversary Proceeding 17-00250 and Plaintiff in     Employees                       Michael L. Artz             martz@afscme.org
Adversary Proceeding 18-00134

AmeriNational Community Services, LLC as           AmeriNat                        Attn: Mark Fredericks,      mfredericks@amerinatls.com
servicer for the GDB Debt Recovery Authority                                       Francisco De Armas          fdearmas@ciacpr.com


Counsel to Levy Echeandia Trust, Inmobiliaria      Andrés L. Córdova                                           acordova@juris.inter.edu
Levy, Inc., Francisco Levy Hijo, Inc., Ricardo
Levy Echeandia and Lourdes Arce Rivera, and
Laura Levy



                                                                             -2-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                            Document Page 4 of 63


Counsel to Sidley Austin LLP                      Andrew Jimenez LLC            Attn: Andrew Jiménez-      ajimenez@ajlawoffices.com
                                                                                Cancel, Esq.

Counsel to Sidley Austin LLP                      Andrew Jimenez LLC            Attn: Andrew Jiménez-      ajimenez@ajlawoffices.com
                                                                                Cancel, Esq.

Counsel to Sistema de Retiro de la Universidad    Antonetti Montalvo &          Attn: Kelly Rivero Alen,   Jramirez@amrclaw.com
de Puerto Rico, Marathon Asset Management,        Ramirez Coll                  Jose L. Ramirez-Coll &     Kellyrivero@hotmail.com
LP, Solus Alternative Asset Management LP,                                      Carolina V. Cabrera Bou    ccabrera@amrclaw.com
Sola Ltd, Ultra Master Ltd, Ultra NB LLC,
Solus Opportunities Fund 5 LP, AES Puerto
Rico, L.P., Arc American, Inc., and Duff &
Phelps LLC
Counsel to Antonio Fuentes González, María Y.     Antonio Fuentes-González                                 antoniofuentesgonzalez@yahoo.com
Viguie Fernández and the conjugal partnership
constituted by them
Counsel to Whitebox Asymmetric Partners, LP,      Arroyo & Rios Law Offices,    Attn: Moraima S. Ríos      mrios@arroyorioslaw.com
et al., Co-Counsel to Whitebox Multi-Strategy     PSC                           Robles & Jessica A.        jfigueroa@arroyorioslaw.com
Partners, L.P., Whitebox Asymmetric Partners,                                   Figueroa-Arce
L.P., Whitebox Institutional Partners, L.P.,
Whitebox Term Credit Fund I L.P., Pandora
Select Partners, L.P., Defendant 27k, Defendant
28k, Defendant 48k, Defendant 55H, and
Defendant 56H
Interested Party                                  Arthur Samodovitz                                        Arthursail@stny.rr.com


Asociación de Empleados Gerenciales del           Asociación de Empleados                                  asociacióngerencialescfse@gmail.com
Fondo del Seguro del Estado                       Gerenciales del Fondo del
                                                  Seguro del Estado

Autonomous Municipality of Ponce, creditor        Autonomous Municipality                                  Marieli.Paradizo@ponce.pr.gov
and party-in-interest                             of Ponce

Autopistas de PR, LLC                             Autopistas de PR, LLC         Attn: Xavier Carol         xavier.carol@abertis.com


Autopistas de PR, LLC                             Autopistas de PR, LLC         Attn: Xavier Carol         xavier.carol@abertis.com




                                                                          -3-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 5 of 63


Autopistas Metropolitanas de Puerto Rico, LLC   Autopistas Metropolitanas         Attn: Julian Fernandez       julian.fernandez@metropistas.com
                                                de Puerto Rico, LLC                                            gonzalo.alcalde@metropistas.com
                                                                                                               yanira.belen@metropistas.com

Autopistas Metropolitanas de Puerto Rico, LLC   Autopistas Metropolitanas         Attn: Julian Fernandez       julian.fernandez@metropistas.com
                                                de Puerto Rico, LLC                                            gonzalo.alcalde@metropistas.com
                                                                                                               yanira.belen@metropistas.com

Badillo Saatchi & Saatchi Inc.                  Badillo Saatchi & Saatchi         Attn: President or General   orlando.gonzalez@publicisone.com
                                                Inc.                              Counsel

Counsel to Roche Diagnostics Corporation        Barnes & Thornburg, LLP           Attn: David M. Powlen,       david.powlen@btlaw.com
                                                                                  Esq., Kevin Collins, Esq.    kevin.collins@btlaw.com


Counsel to Mitsubishi Motor Sales of            Belk & Grovas Law Offices         Attn: James Belk-Arce &      belkgrovas@gmail.com
Caribbean, Inc.                                                                   Carlos J. Grovas-Porrata

Counsel to the Official Committee of Retired    Bennazar, García & Milián,        Attn: A.J. Bennazar-         ajb@bennazar.org
Employees of Puerto Rico & the Official         C.S.P.                            Zequeira                     bgm.csp@bennazar.org
Committee of Retirees                                                                                          hector.mayol@bennazar.org
                                                                                                               francisco.delcastillo@bennazar.org



Counsel to the Official Committee of Retired    Bennazar, García & Milián,        Attn: A.J. Bennazar-         ajb@bennazar.org
Employees of Puerto Rico & the Official         C.S.P.                            Zequeira, Héctor M.          bgm.csp@bennazar.org
Committee of Retirees                                                             Mayol Kauffmann,             hector.mayol@bennazar.org
                                                                                  Francisco del Castillo       francisco.delcastillo@bennazar.org
                                                                                  Orozco


Counsels for Tradewinds Energy Barceloneta,     Bermúdez Díaz & Sánchez           Attn: José J. Sánchez        jsanchez@bdslawpr.com
LLC and Tradewinds Energy Vega Baja, LLC        LLP                               Vélez, Esq. & Reggie         rdiaz@bdslawpr.com
                                                                                  Diaz Hernandez, Esq.




                                                                            -4-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                        Desc: Main
                                            Document Page 6 of 63


Counsel to the University of Puerto Rico and, in    Bobonis, Bobonis &                Attn: Carlos Bobonis        cbg@bobonislaw.com
his official capacity, Dr. Darrel Hillman, Co-      Rodriguez Poventud                González, Enrique G.        efl@bobonislaw.com
Counsel to Bank of America, N.A., Co-Counsel                                          Figueroa-Llinás
to Merrill Lynch, Pierce, Fenner & Smith Inc.,
and Merrill Lynch Capital Services, Inc.
Claims Counsel to The Financial Oversight and       Brown Rudnick LLP                 Attn: Edward S.             eweisfelner@brownrudnick.com
Management Board for Puerto Rico, acting                                              Weisfelner
through its Special Claims Committee
Claims Counsel to The Financial Oversight and       Brown Rudnick LLP                 Attn: Stephen A. Best,      sbest@brownrudnick.com
Management Board for Puerto Rico, acting                                              Esq., Benjamin G. Chew,     bchew@brownrudnick.com
through its Special Claims Committee                                                  Esq.

Claims Counsel to The Financial Oversight and       Brown Rudnick LLP                 Attn: Sunni P. Beville,     sbeville@brownrudnick.com
Management Board for Puerto Rico, acting                                              Esq.
through its Special Claims Committee
Counsel to Oracle America, Inc. and Oracle          Buchalter, A Professional         Attn: Shawn M.              schristianson@buchalter.com
Caribbean, Inc.                                     Corporation                       Christianson, Esq. &        vbantnerpeo@buchalter.com
                                                                                      Valerie Bantner Peo, Esq.

Counsel to Unión de Trabajadores de la              Bufete Emmanuelli, C.S.P.         Attn: Jessica E. Méndez     jessica@bufete-emmanuelli.com
Industria Eléctrica y Riego & Asociación de                                           Colberg, Esq.
Profesoras & Profesores del Recinto
Universitario de Mayagüez, Inc. and Hermandad
de Empleados del Fondo del Seguro del Estado,
Inc, et al. Plaintiff in Adversary Proceeding 18-
00091




                                                                                -5-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                Desc: Main
                                            Document Page 7 of 63


Counsel to Sistema de Retiro de los Empleados      Bufete Emmanuelli, C.S.P.     Attn: Rolando            rolando@bufete-emmanuelli.com
de la Autoridad de Energía Eléctrica, Union de                                   Emmanuelli Jiménez,      jessica@bufete-emmanuelli.com
Empleados de la Corporacion del Fondo del                                        Jessica E. Méndez        notificaciones@bufete-emmanuelli.com
Seguro del Estado, Asociacion de Empleados                                       Colberg, Wilbert López   wilbert_lopez@yahoo.com
Gerenciales del Fondo del Seguro del Estado                                      Moreno                   remmanuelli@me.com
Corp., Union de Medicos de la Corporacion del
Fondo del Seguro del Estado Corp., Prosol-Utier
and Federación de Maestros de Puerto Rico and
Sistema de Retiro de los Empleados de la
Autoridad de Energa Elctrica (SREAEE),
Asociación de Profesores y Profesoras del
Recinto Universitario de Mayagüez, Inc.
("APRUM"), Plaintiff in Adversary Proceeding
17-00197, Hermandad de Empleados del Fondo
del Seguro del Estado, Inc , et al. Plaintiff in
Adversary Proceeding 18-00091, and Unión de
Trabajadores de la Industria Eléctrica y Riego
("UTIER")
Counsel to Sistema de Retiro de los Empleados      Bufete Emmanuelli, C.S.P.     Attn: Rolando            rolando@bufete-emmanuelli.com
de la Autoridad de Energía Eléctrica, Union de                                   Emmanuelli Jiménez,      jessica@bufete-emmanuelli.com
Empleados de la Corporacion del Fondo del                                        Jessica E. Méndez        notificaciones@bufete-emmanuelli.com
Seguro del Estado, Asociacion de Empleados                                       Colberg, Wilbert López   wilbert_lopez@yahoo.com
Gerenciales del Fondo del Seguro del Estado                                      Moreno, Wendolyn         wendolyn@bufete-emmanuelli.com
Corp., Union de Medicos de la Corporacion del                                    Torres Rivera
Fondo del Seguro del Estado Corp., Prosol-Utier
and Federación de Maestros de Puerto Rico and
Sistema de Retiro de los Empleados de la
Autoridad de Energa Elctrica (SREAEE),
Asociación de Profesores y Profesoras del
Recinto Universitario de Mayagüez, Inc.
("APRUM"), Plaintiff in Adversary Proceeding
17-00197, Hermandad de Empleados del Fondo
del Seguro del Estado, Inc , et al. Plaintiff in
Adversary Proceeding 18-00091, and Unión de
Trabajadores de la Industria Eléctrica y Riego
Inc ("UTIER")




                                                                           -6-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                            Document Page 8 of 63


Counsel to Morovis Community Health Center,        Bufete Rodríguez Miranda,    Attn: María Celeste         mcrm100@msn.com
Corporacion De Servicios De Salud Y Medicina       C.S.P.                       Rodríguez Miranda
De Avanzada, HPM Foundation, Inc., Concilio
De Salud Integral De Loiza, Inc., & Neomed
Center, Inc., Attorneys for Migrant Health
Center, Inc., Attorneys for Migrant Health
Center, Inc., Attorneys for Salud Integral en la
Montana
Counsel to Financial Guaranty Insurance            Butler Snow, LLP             Attn: Adam M Langley,       adam.langley@butlersnow.com
Company                                                                         James E. Bailey III         jeb.bailey@butlersnow.com

Counsel to Financial Guaranty Insurance            Butler Snow, LLP             Attn: Christopher R.        chris.maddux@butlersnow.com
Company                                                                         Maddux & J. Mitchell        mitch.carrington@butlersnow.com
                                                                                Carrington

Counsel to Financial Guaranty Insurance            Butler Snow, LLP             Attn: Martin Sosland,       martin.sosland@butlersnow.com
Company                                                                         Esq.                        Chris.Maddux@butlersnow.com
                                                                                                            Mitch.Carrington@butlersnow.com



Counsel to Financial Guaranty Insurance            Butler Snow, LLP             Attn: Stanford G. Ladner    stan.ladner@butlersnow.com
Company

Counsel to Whitefish Energy Holdings, LLC,         C. Conde & Assoc.            Attn: Carmen D. Conde       condecarmen@condelaw.com
Integra Design Group, PSC, Huellas Therapy,                                     Torres, Esq. & Luisa S.     ls.valle@condelaw.com
Corp. and Procesos de Informatica, Inc., Bacardi                                Valle Castro, Esq.          notices@condelaw.com
International Limited, Bacardi Corporation,
Institucion Educatica Nets, LLC
Counsel to Assured Guaranty Corp. and Assured      Cadwalader, Wickersham &     Attn: Howard R.             howard.hawkins@cwt.com
Guaranty Municipal Corp.                           Taft, LLP                    Hawkins, Jr., Mark C.       mark.ellenberg@cwt.com
                                                                                Ellenberg, Ellen M.         ellen.halstead@cwt.com
                                                                                Halstead, Thomas J.         thomas.curtin@cwt.com
                                                                                Curtin, Casey J. Servais,   casey.servais@cwt.com
                                                                                Nathan Bull, William J.     NATHAN.BULL@CWT.com
                                                                                Natbony, and Jaclyn A.      bill.natbony@cwt.com
                                                                                Hall                        jaclyn.hall@cwt.com




                                                                          -7-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                             Document Page 9 of 63


Counsel to Assured Guaranty Corp.                   Cadwalader, Wickersham &        Attn: Mark Ellenberg,       mark.ellenberg@cwt.com
                                                    Taft, LLP                       Esq.

Counsel to Defendants GDB Debt Recovery             Cancio Covas & Santiago,        Attn: Ileana M. Oliver      ioliver@ccsllp.com
Authority and its Trustees Mathew Karp, Jorge       LLP                             Falero, Esq.
L. Padilla, and David Pauker, in their official
capacities, and Inspectorate America
Corporation
Counsel to Puerto Rico Fiscal Agency and            Cancio, Nadal, Rivera &         Attn: Arturo Diaz-          Adiaz@cnrd.com
Financial Advisory Authority, as fiscal agent for   Diaz, PSC                       Angueira & Katiuska         Kbolanos@cnrd.com
Puerto Rico Electric Power Authority                                                Bolanos-Lugo, Angel J.      avalencia@cnrd.com
                                                                                    Valencia

Counsel to Constructora Santiago II, Corp.,         Cardona-Jimenez Law             Attn: Jose F. Cardona       jf@cardonalaw.com
Tamrio Inc., Peerless Oil & Chemicals, Inc.,        Offices, PSC                    Jimenez
Ferrovial Agroman, SA & TEC General
Contractors, Corp. (TEC), Jimenez-Gandara
Estate and Dr. Carlos Suarez Vazquez
Caribbean Hospital Corporation                      Caribbean Hospital              Attn: Dr. Sylivia Lourdes   delapena.sylvia@gmail.com
                                                    Corporation                     de la Peña

Counsel to Norma Bernier Casanova, Creditor         Carla T. Rodríguez Bernier                                  carla.rodriguezbernier@yahoo.com


Counsel to Cooperativa A/C Vegabajeña,              Carlos A. Quilichini Paz &                                  quilichinipazc@microjuris.com
Cooperativa A/C Roosevelt Roads, Quality            Jessica M. Quilichini Ortiz
Equipment, Inc., and Cooperativa A/C La
Comerieña
Counsel to Aida Rossy Clemente and Local            Carlos Alsina Batista Law       Attn: Carlos C. Alsina      calsina@prquiebra.com
Counsel to KDC Solar LLC                            Offices, PSC                    Batista

Counsel to Puerto Rico Land Administration          Carlos E. Cardona-                                          carloscardonafe@hotmail.com
                                                    Fernández

Counsel to Carlos J. Mendez Nunez, in his           Carlos E. Rivera-Justiniano                                 lcdo.carlos.e.riverajustiniano@gmail.com
official capacity and on behalf of the House of
Representatives of Puerto Rico, Plaintiff in
Adversary Proceeding 18-00081
Counsel to Julio E Leandry-Hernández, Ileana        Carlos Fernandez-Nadal,                                     carlosfernandez@cfnlaw.com
Ortiz-Santiago and Autonomous Municipality of       Esq.


                                                                              -8-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                             Document Page 10 of 63


Ponce


Counsel to Cooperativa De Ahorro Y Crédito         Carlos M. Vergne Law           Attn: Carlos M. Vergne      carlosvergne@aol.com
De Isabela                                         Offices                        Vargas

Counsel to Assured Guaranty Corp. and Assured      Casellas Alcover & Burgos,     Attn: Heriberto Burgos      hburgos@cabprlaw.com
Guaranty Municipal Corp.                           PSC                            Pérez, Ricardo F.           rcasellas@cabprlaw.com
                                                                                  Casellas-Sánchez, Diana     dperez@cabprlaw.com
                                                                                  Pérez-Seda, Mariano A.      mmier@cabprlaw.com
                                                                                  Mier Romeu


Counsel to the Official Committee of Unsecured     Casillas, Santiago & Torres,   Attn: Juan J. Casillas      jcasillas@cstlawpr.com
Creditors, Baxter Sales & Distribution Puerto      LLC                            Ayala, Esq., Diana M.       dbatlle@cstlawpr.com
Rico Corp. (Top 20 Creditor)                                                      Batlle-Barasorda, Esq.,     aaneses@cstlawpr.com
                                                                                  Alberto J. E. Añeses        emontull@cstlawpr.com
                                                                                  Negrón, Esq., Ericka C.     ltorres@cstlawpr.com
                                                                                  Montull-Novoa, Esq.,        AAneses@cstlawpr.com
                                                                                  Luis Torres & Alberto J.
                                                                                  E. Añeses-Negrón, Esq.


Counsel to Baxter Sales & Distribution Puerto      Casillas, Santiago & Torres,   Attn: Juan J. Casillas-     jcasillas@cstlawpr.com
Rico Corp. (Top 20 Creditor) & Genesis             LLC                            Ayala, Esq. & Alberto J.    aaneses@cstlawpr.com
Security Services, Inc.                                                           E. Añeses-Negrón, Esq.,
                                                                                  Ericka C. Montull-Novoa,
                                                                                  Esq.
Local Counsel to the Official Committee of         Casillas, Santiago & Torres,   Attn: Luis F. Llach-        lllach@cstlawpr.com
Unsecured Creditors for all Title III Debtors      LLC                            Zúñiga
(other than COFINA)
United States District Court for the District of   Chambers of Honorable          Puerto Rico Chambers        SwainDPRCorresp@nysd.uscourts.gov
Puerto Rico                                        Laura Taylor Swain             Copy

Counsel to Puerto Rico Horse Owners                Charles A Curpill, PSC Law     Attn: Charles Alfred        cacuprill@cuprill.com
Association, Inc.                                  Office                         Cuprill, Carlos G. Garcia   garciamirandalaw@gmail.com
                                                                                  Miranda                     cgarcia@garciariveralaw.com




                                                                            -9-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                                            Document Page 11 of 63


Counsel to Pedro L. Casasnovas Balado, Olga I.   Charles A. Cuprill, PSC,          Attn: Charles A. Cuprill–    ccuprill@cuprill.com
Trinidad Nieves, Raúl E. Casasnovas Balado,      Law Offices                       Hernández
Lolita Gandarilla de Casasnovas, Luis A Rivera
Siaca, & Asociación de Empleados del Estado
Libre Asociado de Puerto Rico
Attorneys for Proposed Amicus Curiae the         Charlie Hernandez Law             Attn: Charlie M.             charliehernandezlaw@gmail.com
Autonomous Municipality of San Juan              Offices                           Hernández

Counsel to Arc American, Inc.                    Chiesa Shahinian &                Attn: Robert E. Nies,        rnies@csglaw.com
                                                 Giantomasi PC                     George A. Spadoro, Marc      gspadoro@csglaw.com
                                                                                   R. Lepelstat, Michael R.     mlepelstat@csglaw.com
                                                                                   Caruso                       mcaruso@csglaw.com



Counsel to John Hancock Investments              Choate, Hall & Stewart,           Attn: Saige Jutras Oftedal   softedal@choate.com
                                                 LLP                               & Douglas R. Gooding         mbarulli@choate.com
                                                                                                                jsantiago@choate.com
                                                                                                                dgooding@choate.com



Counsel to SOMOS, Inc.                           Cintron-Garcia Law                Attn: Carlos A. Cintron      cintrongarcialaw@gmail.com
                                                                                   Garcia, Esq.

Counsel to Puerto Rico Central Recovery and      Cleary Gottlieb                   Attn: Luke A Barefoot        lbarefoot@cgsh.com
Reconstruction Office and the Puerto Rico
Public-Private Partnerships Authority
Counsel to Coalición de Organizaciones Anti      Coalición de                      Attn: Myrna Conty            gmchg24@gmail.com
Incineración, Inc. (COAI), Amigos del Río        Organizaciones Anti
Guaynabo, Inc. (ARG)                             Incineración, Inc. &
                                                 Amigos del Río Guaynabo,
                                                 Inc.
Counsel to Integrand Assurance Company           Cobián Roig Law Offices           Attn: Eduardo J. Cobián      eduardo@cobianroig.com
                                                                                   Roig

Counsel to Service Employees International       Cohen, Weiss and Simon,           Attn: Peter D. DeChiara      pdechiara@cwsny.com
Union and United Auto Workers International      LLP
Union



                                                                            -10-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                                            Document Page 12 of 63


Counsel to Gladys García Rubiera, et al. v. Hon.   Colón Ramírez, LLC                 Attn: Francisco E. Colón   fecolon@colonramirez.com
Luis G. Fortuño, et al; and Gladys García                                             Ramírez
Rubiera, et al, v. Asociación de Suscripción
Conjunta, et al, Civil Number K DP2001-1441
Counsel to Gladys García Rubiera, et al. v. Hon.   Colón Ramírez, LLC                 Attn: Francisco E. Colón   fecolon@colonramirez.com
Luis G. Fortuño, et al; and Gladys García                                             Ramírez
Rubiera, et al, v. Asociación de Suscripción
Conjunta, et al, Civil Number K DP2001-1441
Counsel to Comité Diálogo Ambiental, Inc.          Comité Diálogo Ambiental,          Attn: Víctor Alvarado      valvarados@gmail.com
(CDA)                                              Inc.

Counsel to Comité Yabucoeño Pro-Calidad de         Comité Yabucoeño Pro-              Attn: Lydia Díaz           ausubopr88@gmail.com
Vida, Inc. (YUCAE)                                 Calidad de Vida, Inc.

Constructora Santiago II, Corp.                    Constructora Santiago II,          Attn: Eng. José López      jlopez@constructorasantiago.com
                                                   Corp.

Counsel to Ambac Assurance Corporation             Cooley LLP                         Attn: Reed A. Smith        reed.smith@cooley.com
Counsel to Ad Hoc Group of Noteholders of          Córdova & Dick, LLC                Attn: Brian M. Dick        bmd@cordovadick.com
FGIC-Insured Notes                                                                    Biascoechea
Counsel to Ad Hoc Group of Noteholders of          Córdova & Dick, LLC                Attn: Brian M. Dick        bmd@cordovadick.com
FGIC-Insured Notes                                                                    Biascoechea




                                                                               -11-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                            Document Page 13 of 63


Counsel to the QTCB Noteholder Group              Correa Acevedo & Abesada    Attn: Roberto Abesada-       ra@calopsc.com
(Canyon Capital Advisors LLC, River Canyon        Law Offices, PSC            Agüet, Sergio E. Criado      scriado@calopsc.com
Fund Management, LLC, Davidson Kempner                                        & Rocío Del Mar              rvalentin@calopsc.com
Capital Management LP, OZ Management LP,                                      Valentín Colón
OZ Management LP, OZ Management II LP)
and to Davidson Kempner Distressed
Opportunities Fund L.P., Davidson Kempner
Distressed Opportunities International Ltd.,
Davidson Kempner Institutional Partners, L.P.,
Davidson Kempner International, Ltd.,
Davidson Kempner Partners, M.H. Davidson &
Co., Gordel Capital Limited, Sculptor Credit
Opportunities Master Fund, Ltd. (f/k/a OZ
Credit Opportunities Master Fund, Ltd.),
Sculptor Enhanced Master Fund, Ltd. (f/k/a OZ
Enhanced Mater Fund, Ltd.), Sculptor GC
Opportunities Master Fund, Ltd. (f/k/a OZ GC
Opportunities Master Fund, Ltd.), Sculptor
Capital LP (f/k/a OZ Management LP), Sculptor
Master Fund, Ltd. (f/k/a OZ Master Fund, Ltd.),
and Sculptor SC II, LP (f/k/a OZSC II
L.P.),Canyon Balanced Master Fund, Ltd.,
Canyon Blue Credit Investment Fund L.P.,
Canyon Distressed Opportunity Investing Fund
II, L.P., Canyon Distressed Opportunity Master
Fund II, L.P., Canyon NZ-DOF Investing, L.P.,
Canyon Value Realization Fund, L.P., Canyon
Value Realization MAC 18, Ltd., Canyon-ASP
Fund, L.P., Canyon-GRF Master Fund II, L.P.,
Canyon-SL Value Fund, L.P, EP Canyon LTD,
and the Canyon Value Realization Master Fund,
L.P.
Counsel to Puerto Rico Electric Power             Corretjer, L.L.C.           Attn: Eduardo J. Corrtejer   ejcr@corretjerlaw.com
Authority (“PREPA”)                                                           Reyes
Counsel to Metric Engineering, Inc.               Coto & Associates           Attn: Ramón Coto-Ojeda       rco@crlawpr.com
                                                                              & Gladira Robles-            gar@crlawpr.com
                                                                              Santiago




                                                                       -12-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                     Desc: Main
                                            Document Page 14 of 63


Counsel to Metric Engineering, Inc.              Coto & Associates              Attn: Ramón Coto-Ojeda        rco@crlawpr.com
                                                                                & Gladira Robles-             gar@crlawpr.com
                                                                                Santiago

PBA Top 20 Creditor                              Crufon Construction Corp       Attn: President or General    carlos.iguina@multinationalpr.com
                                                                                Counsel

Counsel to Roche Diagnostics Corporation         Daniel Molina López, Esq.                                    dmolinalaw@gmail.com


Counsel to PFZ Properties, Inc.                  David Carrion Baralt                                         davidcarrionb@aol.com


Counsel to The PBA Sub-Group of the              Davis Polk & Wardwell          Attn: Donald S.               donald.bernstein@davispolk.com
Commonwealth Bondholder Group                    LLP                            Bernstein, Brian M.           brian.resnick@davispolk.com
                                                                                Resnick, Angela M.            angela.libby@davispolk.com
                                                                                Libby

Counsel to Administración De Seguros De          De Diego Law Offices, PSC      Attn: William Santiago-       wssbankruptcy@gmail.com
Salud De Puerto Rico                                                            Sastre, Esq.

Counsel to Syncora Guarantee, Inc. and Syncora   Debevoise & Plimpton, LLP      Attn: Craig A. Bruens,        cabruens@debevoise.com
Capital Assurance, Inc.                                                         Esq., & Elie J.               eworenklein@debevoise.com
                                                                                Worenklein, Esq.

Counsel to Peaje Investments LLC and             Dechert, LLP                   Attn: Allan S. Brilliant &    allan.brilliant@dechert.com
Davidson Kempner Capital Management LP                                          Yehuda Goor                   yehuda.goor@dechert.com


Counsel to Peaje Investments LLC and             Dechert, LLP                   Attn: G. Eric Brunstad, Jr.   eric.brunstad@dechert.com
Davidson Kempner Capital Management LP

Counsel to Peaje Investments LLC and             Dechert, LLP                   Attn: Stuart T. Steinberg     stuart.steinberg@dechert.com
Davidson Kempner Capital Management LP                                          & Michael S. Doluisio         michael.doluisio@dechert.com


PBA Top 20 Creditor                              Del Valle Group Sp             Attn: President or General    rlatorre@delvallegroup.net
                                                                                Counsel




                                                                         -13-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                Desc: Main
                                            Document Page 15 of 63


Del Valle Group, SP                               Del Valle Group, SP          Attn: Humberto             hreynolds@delvallegroup.net
                                                                               Reynolds, President, Del
                                                                               Valle Group, S.P.,
Counsel to ERS Bondholders Altair Global          Delgado & Fernandez, LLC     Attn: Alfredo Fernandez    afernandez@delgadofernandez.com
Credit Opportunities Fund (A), LLC, Appaloosa                                  Martinez
Management, LP, Glendon Opportunities Fund,
LP, Mason Capital Management, LLC, Nokota
Capital Master Fund, LP, Oaktree-Forrest Multi-
Strategy, LLC (Series B), Oaktree Opportunities
Fund IX (Parallel 2), LP, Oaktree Value
Opportunities Fund, LP, Ocher Rose and SV
Credit, LP, Andalusian Global Designated
Activity Company, Glendon Opportunities
Fund, L.P., Mason Capital Management, LLC,
Nokota Capital Master Fund, L.P., Oaktree
Opportunities Fund IX, L.P., and Mason Capital
Master Fund LP, Counsel to ERS Bondholders
Andalusian Global Designated Activity
Company, Mason Capital Master Fund, LP,
Ocher Rose, L.L.C., SV Credit, L.P., Crown
Managed Accounts for and on behalf of
Crown/PW SP, LMA SPC for and on behalf of
Map 98 Segregated Portfolio, Oceana Master
Fund Ltd., Pentwater Merger Arbitrage Master
Fund Ltd., and PWCM Master Fund Ltd.
Counsel to ERS Bondholders Glendon
Opportunities Fund, L.P., Oaktree-Forrest
Multi-Strategy, LLC (Series B), Oaktree
Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P., and
Oaktree Value Opportunities Fund, L.P.,
Counsel to ERS Bondholders Andalusian Global
Designated Activity Company, Mason Capital
Master Fund, LP, Ocher Rose, L.L.C., SV
Credit, L.P., Crown Managed Accounts for and
on behalf of Crown/PW SP; LMA SPC for and
on behalf of Map 98 Segregated Portfolio,
Oceana Master Fund Ltd., Pentwater Merger
Arbitrage Master Fund Ltd., and PWCM Master
Fund Ltd.


                                                                        -14-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                     Desc: Main
                                            Document Page 16 of 63


Counsel to Management Consultants &                Delgado Miranda Law            Attn: Briseida Y.            delgadomirandalaw@gmail.com
Computer Services. Inc.                            Offices, LLC                   Delgado-Miranda

Counsel to Governor Ricardo Rosselló, Hon.         Department of Justice          Attn: Wandymar Burgos        wburgos@justicia.pr.gov
Raúl Maldonado Gautier, and Hon. José Iván                                        Vargas, Deputy Secretary
Marrero Rosado                                                                    in Charge of Litigation

PBA Top 20 Creditor                                Depto Trabajo Y Recursos       Attn: Edif. Prudencio        lypagan@trabajo.pr.gov
                                                   Humanos                        Rivera Martinez

Counsel to UTIER, Plaintiff in Adversray           Despacho Juridico Ramos        Attn: Guillermo J Ramos      gramlui@yahoo.com
Proceeding 19-00298                                Luina LLC                      Luina

Counsel to Hon. Carlos Contreras Aponte,           Development &                  Attn: Raúl Castellanos       rcastellanos@devconlaw.com
Executive Director of the Puerto Rico Highways     Construction Law Group,        Malavé
& Transportation Authority and the Puerto Rico     LLC
Highways & Transportation Authority
PBA Top 20 Creditor                                Deya Elevator Service Inc      Attn: President or General   ventas@deya.com
                                                                                  Counsel

Counsel to Voz Activa, Inc.                        Diaz Soto Law Office           Attn: Ricardo L. Díaz        diazsotolaw@gmail.com
                                                                                  Soto

Counsel to Cooperativa de Ahorro y Crédito         Diego Corral González          Attn: Diego Corral           corraldieg@gmail.com
Abraham Rosa, Cooperativa de Ahorro y                                             González
Crédito de Ciales, Cooperativa de Ahorro y
Crédito de Rincón,
Cooperativa de Ahorro y Crédito Vega Alta,
Cooperativa de Ahorro y Crédito Dr. Manuel
Zeno Gandía, and Cooperativa de Ahorro y
Crédito de Juana Díaz
Counsel to the University of Puerto Rico, Puerto   DLA Piper (Puerto Rico),       Attn: Jose A. Sosa-          jose.sosa@dlapiper.com
Rico Fiscal Agency and Financial Advisory          LLC                            Llorens
Authority and the Puerto Rico Treasury
Department
Counsel to The University of Puerto Rico,          DLA Piper, LLP (US)            Attn: Richard A. Chesley     richard.chesley@dlapiper.com
Puerto Rico Fiscal Agency and Financial                                           & Rachel Ehrlich             rachel.albanese@dlapiper.com
Advisory Authority and the Puerto Rico                                            Albanese
Treasury Department



                                                                           -15-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                   Desc: Main
                                             Document Page 17 of 63


Counsel to Popular, Inc., Popular Securities,    Donna A. Maldonado-                                         Donna.Maldonado@popular.com
LLC and Banco Popular de Puerto Rico             Rivera

Dr. Carlos Suarez Vazquez, Plaintiff in          Dr. Carlos Suarez Vazquez                                   carloslsuarez@gmail.com
Adversary Proceeding 19-00293
PBA Top 20 Creditor                              DRC Corporation                Attn: President or General   jfnevares-law@microjuris.com
                                                                                Counsel

Counsel to the University of Puerto Rico,        Edgardo Barreto Law Office     Attn: Edgardo Barreto-       edgardo_barreto@yahoo.com
Plaintiff in Adversary Proceeding 17-00217                                      Pagan

Counsel to Cooperativa De Ahorro y Crédito De    Edgardo Muñoz, PSC             Attn: Edgardo Muñoz          emunozPSC@gmail.com
Isabela

Counsel to El Puente de Williamsburg, Inc.-      El Puente de Williamsburg,     Attn: David Ortiz            dortiz@elpuente.us
Enlace Latino de Acción Climática (ELAC)         Inc.-Enlace Latino de
                                                 Acción Climática

Counsel to Bella International, LLC, Bella       Elián N. Escalante De Jesús,                                elian.escalante@gmail.com
Retail Group, LLC, International Automotive      Esq.
Distributors Group, LLC, Bella Export
Corporation, Jeronimo Esteve Abril and Carlos
Lopez-Lay
Federal Agency                                   Environmental Protection       Attn: Mark Gallagher         mark.gallagher@usdoj.gov
                                                 Agency (EPA)

Jimenez-Gandara Estate                           Estate of Carmen D.            Attn: Carlos E. Torres       cetj@maaspr.com
                                                 Jimenez Gandara

Counsel to The Financial Oversight and           Estrella, LLC                  Attn: Alberto Estrella,      agestrella@estrellallc.com
Management Board for Puerto Rico and local                                      Kenneth C. Suria,            kcsuria@estrellallc.com
Counsel to Brown Rudnick LLP, the Claims                                        Francisco A. Ojeda-Diez      fojeda@estrellallc.com
Counsel to The Financial Oversight and
Management Board for Puerto Rico, acting
through its Special Claims Committee, Local
Counsel to the Special Claims Committee of the
Financial Oversight and Management Board,
acting by and through its Member.
PBA Top 20 Creditor                              Evertec Group LLC              Attn: President or General   Rafael.Echevarria@evertecinc.com
                                                                                Counsel



                                                                         -16-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                              Document Page 18 of 63


Counsel to Bermudez, Longo, Diaz-Mosso, LLC    Faccio & Pabon Roca              Attn: Luis E. Pabón Roca,   lpabonroca@microjuris.com
                                                                                Esq. & Clarisa Soló         clarisasola@hotmail.com
                                                                                Gómez, Esq.

Counsel to Bermudez, Longo, Diaz-Mosso, LLC    Faccio & Pabon Roca              Attn: Luis E. Pabón Roca,   lpabonroca@microjuris.com
                                                                                Esq. & Clarisa Soló         clarisasola@hotmail.com
                                                                                Gómez, Esq.

Counsel to Voya Institutional Trust Company,   Faegre Baker Daniels, LLP        Attn: Robert L. Schnell &   robert.schnell@faegrebd.com
Plaintiff in Adversary Proceeding 17-00216                                      Michael B. Fisco            pjime@icepr.com


Federación de Maestros de Puerto Rico          Federación de Maestros de                                    legal.fmpr@gmail.com
                                               Puerto Rico

Counsel for Marrero Plaintiffs                 Fegan Scott LLC                  Attn: Elizabeth A. Fegan    beth@feganscott.com
Counsel to Asociacion de Salud Primaria de     Feldesman Tucker Leifer          Attn: James L. Feldesman    jfeldesman@FTLF.com
Puerto Rico, et al., Plaintiff in Adversary    Fidell, LLP
Proceeding 17-00227
Counsel to Bank of America Merrill Lynch       Félix J. Montañez-Miranda                                    fmontanezmiran@yahoo.com


Counsel to American Century Investment         Fernández Cuyar Rovira &         Attn: Juan A. Cuyar Cobb    jcc@fccplawpr.com
Management, Inc.                               Plá LLC                                                      jcc@fclawpr.com

Counsel to Ambac Assurance Corporation         Ferraiuoli, LLC                  Attn: Roberto A. Cámara     rcamara@ferraiuoli.com
                                                                                Fuertes & Sonia E. Colón    scolon@ferraiuoli.com


Counsel to Municipio de San Juan               Ferrari Law, PSC                 Attn: Carla Ferrari-Lugo    ferraric@ferrarilawpr.com


Interested Party                               Ferrovial Agroman, SA and        Attn: Eng. Nassin E.        n.tactuk@ferrovial.com
                                               Ferrovial Agroman, LLC           Tactuk Diná

Counsel to Pan American Grain Co., Inc.        Figueroa y Morgade Law           Attn: Maria Mercedes        figueroaymorgadelaw@yahoo.com
                                                                                Figueroa y Morgade, Esq.

Counsel to Whitefish Energy Holdings, LLC      Foley & Lardner LLP              Attn: Michael J. Small      msmall@foley.com
Counsel to Whitefish Energy Holdings, LLC      Foley & Lardner LLP              Attn: Tamar Dolcourt        tdolcourt@foley.com


                                                                         -17-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 19 of 63


Counsel to Santander Asset Management, LLC         Fortuño Law                     Attn: Juan C. Fortuño Fas   bkfilings@fortuno-law.com


Counsel to Angely M. Aponte-Pagán and other        Francisco González Law          Attn: Francisco R.          bufetefrgonzalez@gmail.com
Plaintiffs in the Civil Case No. CC-2016-1153      Office                          González-Colón
& Javier Andino-Gaudín and other Plaintiffs in
the Civil Case No. K AC2002-5558
Counsel to Puerto Rico Hospital Supply, Inc.       Fuentes Law Offices, LLC        Attn: Alexis Fuentes        alex@fuenteslaw.com
                                                                                   Hernández

Counsel to an ad hoc group of certain holders of   G. Carlo-Altieri Law            Attn: Gerardo A. Carlo,     gacarlo@carlo-altierilaw.com
Government Facilities Revenue Bonds,               Offices, LLC                    Kendra Loomis               loomislegal@gmail.com
Government Facilities Revenue Refunding                                                                         gaclegal@gmail.com
Bonds (PBA Funds), Black Rock Financial
Management, Inc., Deutsche Bank Securities,
Inc., First Pacific Advisors, LLC, JNL Multi-
Manager Alternative Fund, a Series of JNL
Services Trust, Pelican Fund, LP, Silver Point
Capital Fund, L.P., and Silver Point Capital
Offshore Master Fund, L.P., and co-counsel for
Candlewood Constellation SPC Ltd., Acting for
and on behalf of Candlewood Puerto Rico SP,
Emso Asset Management Ltd. Mason Capital
Master Fund, L.P. and VR Advisory Services
Ltd. in Adversary Proceeding 19-00291 and co-
counsel to Defendant FPA Crescent Fund in
Adversary Proceeding 19-00292 and co-counsel
to Defendants Fir Tree Capital Opportunity
Master Fund III, LP; Fir Tree Capital
Opportunity Master Fund, LP; Fir Tree Value
Master Fund, LP; FPA Global Opportunity
Fund, a Series of FPA Hawkeye Fund, LLC;
FPA Hawkeye Fund, a Series of FPA Hawkeye
Fund, LLC, FPA Select Fund, L.P.; FPA Value
Partners Fund, a Series of FPA Hawkeye Fund,
LLC; FT COF (E) Holdings, LLC; FT SOF IV
Holdings, LLC; Global Flexible Fund, a sub-
fund of Nedgroup Investment Funds PLC;
Lannan Foundation; Litman Gregory Masters
Alternative Strategies Fund, a series of Litman


                                                                            -18-
                Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06   Desc: Main
                                           Document Page 20 of 63


Gregory Funds Trust; Ulysses Offshore Fund,
Ltd.; Ulysses Partners, LP; and VR Global
Partners, LP in Adversary Proceeding 19-00295




                                                      -19-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 21 of 63


Counsel to Fir Tree Capital Opportunity Master     G. Carlo-Altieri Law           Attn: Gerardo A. Carlo,      gacarlo@carlo-altierilaw.com
Fund III, LP, Fir Tree Capital Opportunity         Offices, LLC                   Kendra Loomis                loomislegal@gmail.com
Master Fund, LP, Fir Tree Value Master Fund,
LP, FPA Global Opportunity Fund, a Series of
FPA Hawkeye Fund, LLC, FPA Hawkeye Fund,
a Series of FPA Hawkeye Fund, LLC, FPA
Select Fund, L.P., FPA Value Partners Fund, a
Series of FPA Hawkeye Fund, LLC, FT COF
(E) Holdings, LLC, FT SOF IV Holdings, LLC,
Global Flexible Fund, a sub-fund of Nedgroup
Investment Funds PLC, Lannan Foundation,
Litman Gregory Masters Alternative Strategies
Fund, a series of Litman Gregory Funds Trust,
Ulysses Offshore Fund, Ltd., Ulysses Partners,
LP, VR Global Partners, LP, Candlewood
Constellation SPC Ltd., Acting for and on behalf
of Candlewood Puerto Rico SP, Emso Asset
Management Ltd., Mason Capital Master Fund,
L.P., VR Advisory Services Ltd, FPA Crescent
Fund, a Series of FPA Funds Trust, Black Rock
Financial Management, Inc., Deutsche Bank
Securities, Inc., First Pacific Advisors, LLC,
JNL Multi-Manager Alternative Fund, a Series
of JNL Services Trust, Pelican Fund, LP, Silver
Point Capital Fund, L.P., and Silver Point
Capital Offshore Master Fund, L.P.
Counsel to the Insurance Commissioner of           Garay Massey Law Office        Attn: Juan Carlos Garay      juans@prtc.net
Puerto Rico as Liquidator of National Insurance                                   Massey
Company, Preferred Health, Inc., and Agro
Industrias del Este, Corp.
Counsel to Finca Matilde Inc.                      Garcia-Arregui & Fullana       Attn: Isabel M. Fullana      ifullana@gaflegal.com
                                                   PSC

PBA Top 20 Creditor                                Genesis Security Services      Attn: President or General   contact@genesissecuritypr.com
                                                   Inc                            Counsel




                                                                           -20-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                   Desc: Main
                                             Document Page 22 of 63


Counsels for Tradewinds Energy Barceloneta,       Genovese Joblove &            Attn: John H. Genovese,      jgenovese@gjb-law.com
LLC and Tradewinds Energy Vega Baja,              Battista, P.A.                Mariaelena Gayo-Guitian,     mguitian@gjb-law.com
LLC,the Official Committee of Unsecured                                         Jesus M Suarez, John         jsuarez@gjb-law.com
Creditors for all Title III Debtors (other than                                 Arrastia                     jarrastia@gjb-law.com
COFINA and PBA)


Counsel to Migrant Health Center, Inc.            Gerena Law Office             Attn: Jorge L. Gerena-       jlgere@gmail.com
                                                                                Méndez, Esq.

Counsel to Aurelius Investment, LLC, Aurelius     Gibson, Dunn & Crutcher,      Attn: Theodore B. Olson,     mmcgill@gibsondunn.com
Opportunities Fund, LLC, Lex Claims, LLC,         LLP                           Matthew D. McGill,           jchristiansen@gibsondunn.com
Assured Guaranty Municipal Corp and Assured                                     Lochlan F. Shelfer &
Guaranty Corp., Plaintiff in Adversary Case No.                                 Jeremy M. Christiansen
18-00087
Representative of Plaintiff the Financial         Gierbolini & Carroll Law      Attn: Courtney R. Carroll,   courtneyrcarroll@gierbolinicarroll.com
Oversight and Management Board for Puerto         Offices, P.S.C.               Miguel E. Gierbolini         miguelgierbolini@gierbolinicarroll.com
Rico (the “FOMB”)

Counsel to the Ad Hoc Puerto Rico                 Godreau & Gonzalez Law,       Attn: F. David Godreau       dg@g-glawpr.com
Municipalities Committee and GMS Group,           LLC                           Zayas & Rafael A.            rgv@g-glawpr.com
LLC and Mark Elliott                                                            Gonzalez Valiente

Counsel to Syncora Guarantee, Inc. and Syncora    Goldman Antonetti &           Attn: Carlos A. Rodríguez    crodriguez-vidal@gaclaw.com
Capital Assurance, Inc.                           Cordova, LLC                  Vidal & Solymar Castillo     scastillo@gaclaw.com
                                                                                Morales

Counsel to Cooperativa de Ahorro y Crédito de     González López & López        Attn: Marie Elsie López      marielopad@gmail.com
Santa Isabel                                      Adames LLC                    Adames

Counsel to Ms. Marcia Gil Caraballo               Gonzalez Munoz Law            Attn: Juan C. Nieves         Jnieves@gonzalezmunozlaw.com
                                                  Offices, PSC                  Gonzalez

Co-Counsel to Goldman Sachs & Co. LLC             Goodwin Procter LLP           Attn: Brian E.               bpastuszenski@goodwinlaw.com
                                                                                Pastuszenski, Charles A.     cbrown@goodwinlaw.com
                                                                                Brown




                                                                         -21-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                             Document Page 23 of 63


Counsel to Puerto Rico Fiscal Agency and            Greenberg Traurig, LLP          Attn: David Cleary, John   Huttonj@gtlaw.com
Financial Advisory Authority, as fiscal agent for                                   Hutton, Kevin D. Finger,   Haynesn@gtlaw.com
Puerto Rico Electric Power Authority                                                Nathan A. Haynes           fingerk@gtlaw.com
                                                                                                               haynesn@gtlaw.com



Counsel to José Ramón Rivera Rivera, Ralphie        Guillermo Ramos Luiña                                      gramlui@yahoo.com
Dominicci Rivera, Ángel R. Figueroa Jaramillo
and Erasto Zayas López, Plaintiffs in Adversary
Proceeding 18-00047, and Cooperativa De
Ahorro Y Crédito Abraham Rosa, et al., Plaintiff
in Adversary Proceeding 18-00028 and Co-
Counsel to Cooperativa de Ahorro y Crédito de
Rincón, Cooperativa de Ahorro y Crédito Dr.
Manuel Zeno Gandía and Cooperativa de
Ahorro y Crédito de Juana Díaz
Counsel to Anne Catesby Jones and Jorge             Hagens Berman Sobol             Attn: Mark T. Vazquez      MARKV@HBSSLAW.com
Valdes Llauger, collectively the Marrero            Shapiro LLP
Plaintiffs
Counsel to Anne Catesby Jones and Jorge             Hagens Berman Sobol             Attn: Steve W. Berman      steve@hbsslaw.com
Valdes Llauger, collectively the Marrero            Shapiro LLP
Plaintiffs
Counsel to the Puerto Rico Energy Commission        HALS, PSC                       Attn: Yarymar González     ygc@rclopr.com
                                                                                    Carrasquillo               ygc1@prtc.net


Counsel to Cooperativa De Ahorro Y Credito          Harry Anduze Montano                                       handuze@microjuris.com
Abraham Rosa, Plaintiff in Adversary
Proceeding 18-00028
Counsel to Luis R. Santini-Gaudier, Plaintiff in    Harry Anduze Montano            Attn: Harry Anduze         jmoralesb@microjuris.com
Adversary Proceeding Case No. 18-00053,             Law Offices                     Montaño                    corraldieg@gmail.com
Cooperativa de Ahorro y Crédito Abraham
Rosa, Cooperativa de Ahorro y Crédito de
Ciales, Cooperativa de Ahorro y Crédito de
Rincón, Cooperativa de Ahorro y Crédito Vega
Alta, Cooperativa de Ahorro y Crédito Dr.
Manuel Zeno Gandía, and Cooperativa de
Ahorro y Crédito de Juana Díaz



                                                                             -22-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                             Document Page 24 of 63


Counsel to Data Access Communication Inc,       Hector Figueroa Vincenty                                     QUIEBRAS@ELBUFETEDELPUEBLO.com
Netwave Equipment Corp., and Nustream
Communications Corp
Counsel to Joel Isander Cuadrado Delgado and    Hernandez & Rodriguez             Attn: Fernando L.          hernandezrodriguezlaw@gmail.com
Sonia Ivette Carrasquillo Calderón              Law Offices                       Rodriguez Mercado

Counsel to the Estate of Delia Hernandez        Hernandez-Oharriz &               Attn: Edgardo José         ehernandez@lawservicespr.com
                                                Santiago, P.S.C.                  Hernández Ohárriz

Counsel to US Bank, National Association and    Hogan Lovells US, LLP             Attn: Robin E. Keller,     robin.keller@hoganlovells.com
US Bank Trust, National Association, each as                                      Ronald J. Silverman,       ronald.silverman@hoganlovells.com
Trustee for Various Bond Issues                                                   Michael C Hefter           michael.hefter@hoganlovells.com

Counsel to First Transit of Puerto Rico, Inc.   Holland & Knight, LLP             Attn: Jesús E. Cuza        jesus.cuza@hklaw.com


Counsel to First Transit of Puerto Rico, Inc.   Holland & Knight, LLP             Attn: John J. Monaghan,    bos-bankruptcy@hklaw.com
                                                                                  Esq., Lynne B. Xerras,
                                                                                  Esq., & Kathleen M. St.
                                                                                  John, Esq.
Honorable Rosanna López León, Plaintiff in      Honorable Rosanna López                                      mvega@senado.pr.gov
Adv. Case No. 17-00137                          León

Counsel to Learning Alliances, LLC              Hunton Andrews Kurth LLP          Attn: Robert A. Rich,      rrich2@huntonak.com
                                                                                  Esq.
Counsel to Asociación Puertorriqueña de la      Indiano & Williams, PSC           Attn: David C. Indiano,    claudia.quinones@indianowilliams.com
Judicatura and Depository Trust Company                                           Leticia Casalduc-Rabell,   david.indiano@indianowilliams.com
                                                                                  & Claudia Quiñones-Vila    leticia.casalduc@indianowilliams.com



IRS Insolvency Section                          Internal Revenue Service          Attn: Centralized          Mimi.M.Wong@irscounsel.treas.gov
                                                                                  Insolvency Operation

IRS Insolvency Section                          Internal Revenue Service          Attn: Centralized          Mimi.M.Wong@irscounsel.treas.gov
                                                                                  Insolvency Operation

IRS Insolvency Section                          Internal Revenue Service          Attn: Insolvency Unit      Thomas.M.Rath@IRSCOUNSEL.TREAS.gov




                                                                           -23-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 25 of 63


Counsel to Anne Catesby Jones and Jorge           Ismael Marrero Rolon             Attn: Jane Becker          janebeckerwhitaker@gmail.com
Valdes Llauger, collectively the Marrero                                           Whitaker
Plaintiffs
Counsel to Carlos J. Mendez Nunez, in his         Israel Roldán González &                                    irg@roldanlawpr.com
official capacity and on behalf of the House of   Isis Aimée Roldán Márquez                                   irm@roldanlawpr.com
Representatives of Puerto Rico, Plaintiff in
Adversary Proceeding 18-00081
Counsel to Lauren De Pablo by her, Rolando        James Law Offices                Attn: Glenn Carl James     glenncarljameslawoffices@gmail.com
Martínez by him and as inheritor of Ondina
Finale, Conjugal Partnership of Rolando
Martínez and Lauren de Pablo, Deianeira
Martínez De Pablo by her, Pedro Rolando
Martínez Torres by him and as in heritor of
Ondina Finale, and Olga Martínez Finale as
inheritor of Ondina Finale
Counsel to Corporación Publica para la            Jean Philip Gauthier Law         Attn: Jean Philip          JPGLaw@outlook.com
Supervisión y Seguro de Cooperativas de Puerto    Offices                          Gauthier, Cristine M.      ramosmartinezlaw@yahoo.com
Rico (“COSSEC”)                                                                    Ramos Martínez             ramosmartinezlaw7@gmail.com

Counsel to Corporación Publica para la            Jean Philip Gauthier Law         Attn: Jean Philip          JPGLaw@outlook.com
Supervisión y Seguro de Cooperativas de Puerto    Offices                          Gauthier, Cristine M.      ramosmartinezlaw@yahoo.com
Rico (“COSSEC”)                                                                    Ramos Martínez             ramosmartinezlaw7@gmail.com

Counsel to the Official Committee of Retired      Jenner & Block, LLP              Attn: Melissa Root,        mroot@jenner.com
Employees of Puerto Rico                                                           Catherine Steege           csteege@jenner.com


Counsel to the Official Committee of Retired      Jenner & Block, LLP              Attn: Robert Gordon,       rgordon@jenner.com
Employees of Puerto Rico                                                           Richard Levin, Carl N.     rlevin@jenner.com
                                                                                   Wedoff, Catherine Steege   cwedoff@jenner.com
                                                                                                              csteege@jenner.com

Counsel to Marie Algarín Serrano                  Jesús M. Rivera Delgado          Attn: Jesús M. Rivera      info@jesusriveradelgado.com
                                                                                   Delgado
Counsel to the Ad Hoc Group of General            Jiménez, Graffam & Lausell       Attn: Andrés F. Picó       rrivera@jgl.com
Obligation Bondholders, Autonomy Capital                                           Ramírez & J. Ramón         apico@jgl.com
(Jersey) LP & Aurelius Capital Master, Ltd.,                                       Rivera Morales
Plaintiff in Adversary Proceeding 17-00189



                                                                            -24-
                Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                   Desc: Main
                                           Document Page 26 of 63


Counsel to Autonomy Capital (Jersey) L.P.        Jiminez, Graffam & Lausell    Attn: J. Ramón Rivera        rrivera@jgl.com
                                                                               Morales
PBA Top 20 Creditor                              JLG Consulting                Attn: President or General   jlg@joselgarcia.com
                                                 Engineering, P.S.C.           Counsel

Counsel to Altair Global Credit Opportunities    Jones Day                     Attn: Benjamin               brosenblum@jonesday.com
Fund (A), LLC, Appaloosa Management, LP,                                       Rosenblum, James M.          jgross@jonesday.com
Glendon Opportunities Fund, LP, Mason Capital                                  Gross
Management, LLC, Nokota Capital Master
Fund, LP, Oaktree-Forrest Multi-Strategy, LLC
(Series B), Oaktree Opportunities Fund IX
(Parallel 2), LP, Oaktree Value Opportunities
Fund, LP, Ocher Rose and SV Credit, LP
Counsel to ERS Bondholders Altair Global         Jones Day                     Attn: Beth Heifetz,          bheifetz@jonesday.com
Credit Opportunities Fund (A), LLC,                                            Christopher J. DiPompeo      cdipompeo@jonesday.com
Andalusian Global Designated Activity
Company, Glendon Opportunities Fund, L.P.,
Mason Capital Management, LLC, Nokota
Capital Master Fund, L.P., Oaktree-Forrest
Multi- Strategy, LLC (Series B), Oaktree
Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P.,
Oaktree Value Opportunities Fund, L.P., Ocher
Rose, L.L.C., Mason Capital Master Fund LP,
and SV Credit, L.P., Counsel to ERS
Bondholders Andalusian Global Designated
Activity Company, Mason Capital Master Fund,
LP, Ocher Rose, L.L.C., SV Credit, L.P., Crown
Managed Accounts for and on behalf of
Crown/PW SP, LMA SPC for and on behalf of
Map 98 Segregated Portfolio, Oceana Master
Fund Ltd., Pentwater Merger Arbitrage Master
Fund Ltd., and PWCM Master Fund Ltd.C
Counsel to ERS Bondholders Glendon
Opportunities Fund, L.P., Oaktree-Forrest
Multi-Strategy,LLC (Series B), Oaktree
Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P., and
Oaktree Value Opportunities Fund, L.P.



                                                                        -25-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                   Desc: Main
                                            Document Page 27 of 63


Counsel to Altair Global Credit Opportunities     Jones Day                     Attn: Bruce Bennett          bbennett@jonesday.com
Fund (A), LLC, Appaloosa Management, LP,
Glendon Opportunities Fund, LP, Mason Capital
Management, LLC, Nokota Capital Master
Fund, LP, Oaktree-Forrest Multi-Strategy, LLC
(Series B), Oaktree Opportunities Fund IX
(Parallel 2), LP, Oaktree Value Opportunities
Fund, LP, Ocher Rose and SV Credit, LP, ERS
Bondholders Glendon Opportunities Fund, L.P.,
Oaktree-Forrest Multi Strategy, LLC (Series B),
Oaktree Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P., and
Oaktree Value Opportunities Fund, L.P.
Counsel to ERS Bondholders Andalusian Global      Jones Day                     Attn: David R. Fox           drfox@jonesday.com
Designated Activity Company, Mason Capital
Master Fund, LP, Ocher Rose, L.L.C., SV
Credit, L.P., Crown Managed Accounts for and
on behalf of Crown/PW SP, LMA SPC for and
on behalf of Map 98 Segregated Portfolio,
Oceana Master Fund Ltd., Pentwater Merger
Arbitrage Master Fund Ltd., and PWCM Master
Fund Ltd., Glendon Opportunities Fund, L.P.,
Oaktree-Forrest Multi-Strategy, LLC (Series B),
Oaktree Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P., and
Oaktree Value Opportunities Fund, L.P.
Counsel to ERS Bondholders Glendon                Jones Day                     Attn: Isel M. Perez          iperez@jonesday.com
Opportunities Fund, L.P., Oaktree-Forrest
Multi-Strategy, LLC (Series B), Oaktree
Opportunities Fund IX, L.P., Oaktree
Opportunities Fund IX (Parallel 2), L.P., and
Oaktree Value Opportunities Fund, L.P.
Counsel for Defendant Saybolt, LP                 Jones Day                     Attn: James A. Reeder, Jr.   jareeder@jonesday.com
Counsel to María Elena Alonso Fuentes and         Jorge Luis Guerrero-                                       tuttieguerrero@yahoo.com
Laura E. Climent Garcia                           Calderon

Counsel to Nydia M. Morales                       Jorge P. Sala Colon                                        jpsala_pr@yahoo.com
                                                                                                             salalawyers@yahoo.com




                                                                         -26-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 28 of 63


Counsel to Del Valle Group, SP, Pablo Del        Jorge R. Quintana-Lajara                                       jorgequintanalajara@gmail.com
Valle Rivera and María A. Martínez, Tenants in
Common, Fideicomiso Del Valle Martinez II
and Reliable Equipment Corporation
Counsel to Asociación de Maestros de Puerto      José Luis Barrios-Ramos                                        barrios.jl@outlook.com
Rico - Local Sindical and Co-Counsel to the
American Federation of Teachers, AFL-CIO
Counsel to WorldNet Telecommunications, Inc.     José Luis Barrios-Ramos                                        barrios.jl@outlook.com


Counsel to Jose Angel Rey, Julie I. Escudero,    Jose W. Cartagena                                              jwc@jwcartagena.com
and Hilda O. Cartagena

Counsel to the Municipality of Guayanilla        JRAF Law Firm, PSC                Attn: Juan P. Rivera         riveraroman@hotmail.com
                                                                                   Roman

Counsel to PV Properties, Inc., Windmar          JRJ Consultants & Legal           Attn: Javier Rua-Jovet,      javrua@gmail.com
Renewable Energy, Inc. and Coto Laurel Solar     Advisors, LLC                     Esq.
Farm, Inc.
Counsel to Orlando Torres Berrios, Germán        Juan A. Hernández Rivera,                                      juan@jahrlaw.com
Torres Berrios, Viviana Ortiz Mercado, Juan      Esq.
Alberto Torres Berrios, Vilma Teresa Torres
López, Ramón A. Bonilla Martínez, and
Hermanos Torres Torres, Inc.
Counsel to Adrian Mercado Jimenez, Municipio     Juan B. Soto Law Offices,         Attn: Juan B. Soto Balbás    jsoto@jbsblaw.com
de Gurabo                                        PSC

Julio E Leandry-Hernández and Ileana Ortiz-      Julio E Leandry-Hernández                                      ileanaortix@outlook.com
Santiago                                         and Ileana Ortiz-Santiago

Counsel to NextGen Healthcare, Inc. and          Kane Russell Coleman              Attn: Paul J. Hammer         phammer@krcl.com
Quality Systems, Inc.                            Logan PC

PBA Top 20 Creditor                              Karimar Construction Inc          Attn: President or General   jesther27@aol.com
                                                                                   Counsel                      santos.giancarlo@gmail.com

Counsel to Anne Catesby Jones and Jorge          Karon LLC                         Attn: Daniel R. Karon        dkaron@karonllc.com
Valdes Llauger




                                                                            -27-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 29 of 63


Counsel to Whitebox Asymmetric Partners,          Kasowitz Benson Torres           Attn: Andrew K. Glenn,     AGlenn@kasowitz.com
L.P., Whitebox Institutional Partners, L.P.,      LLP                              Shai Schmidt, Trevor J.    SSchmidt@kasowitz.com
Whitebox Multi-Strategy Partners, L.P., Pandora                                    Welch                      TWelch@kasowitz.com
Select Partners, L.P., and Whitebox Term Credit
Fund I L.P.
Counsel to ManpowerGroup, Inc.                    Kohner, Mann & Kailas,           Attn: Samuel C.            swisotzkey@kmksc.com
                                                  S.C.                             Wisotzkey, Esq., Ryan M.   rbillings@kmksc.com
                                                                                   Billings, Esq.

Top 20 Unsecured Creditor, COFINA                 KPMG, LLC                        Attn: Angel Perez &        aperez@kpmg.com
                                                                                   Luisette Negron            Lnegron@kpmg.com


Counsel to Major COFINA Bondholders,              Kramer Levin Naftalis &          Attn: Amy Caton,           acaton@kramerlevin.com
Oppenheimer Funds, Franklin Funds, First          Frankel, LLP                     Thomas Moers Mayer,        tmayer@kramerlevin.com
Puerto Rico Family of Funds, Ad Hoc Group of                                       David E. Blabey, Jr.,      dblabey@kramerlevin.com
PREPA Bondholders, and Invesco/Oppenheimer                                         Douglas Buckley, P.        dbuckley@kramerlevin.com
Funds                                                                              Bradley O'Neill, Gregory   nhamerman@kramerlevin.com
                                                                                   A. Horowitz, Natan         abyowitz@kramerlevin.com
                                                                                   Hamerman, Alice J.         ghorowitz@kramerlevin.com
                                                                                   Byowitz, and Natan         boneill@kramerlevin.com
                                                                                   Hamerman




Counsel to AGM Properties Corporation             Landrau Rivera & Assoc.          Attn: Noemí Landrau        nlandrau@landraulaw.com
                                                                                   Rivera
Counsel to Autonomy Capital (Jersey) LP           Latham & Watkins LLP             Attn: Adam J. Goldberg,    adam.goldberg@lw.com
                                                                                   Yelizaveta L. Burton,      liza.burton@lw.com
                                                                                   Christopher Harris         christopher.harris@lw.com



Counsel to Autonomy Capital (Jersey) LP           Latham & Watkins LLP             Attn: Jeffrey E. Bjork,    jeff.bjork@lw.com
                                                                                   Esq. & Michael J. Reiss,   michael.reiss@lw.com
                                                                                   Esq.

Counsel to Autonomy Capital (Jersey) L.P.         Latham & Watkins LLP             Attn: Michael J. Reiss     michael.reiss@lw.com



                                                                            -28-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                      Desc: Main
                                            Document Page 30 of 63


Counsel to Instituto de Competitividad Y           Law Firm of Fernando E.         Attn: Fernando E. Agrait    agraitfe@agraitlawpr.com
Sostenibilidad Economica de Puerto Rico            Agrait
(ICSE)
Counsel to M.L. & R.E. Law Firm, the Popular       Law Office Aníbal               Attn: Aníbal Acevedo-       acevedovila1@gmail.com
Democratic Party House of Representatives          Acevedo-Vilá                    Vilá
Delegation, and the plaintiffs-intervenors in
Adversary Proceeding 18-00081
Counsel to Depository Trust Company                Law Office of Frank Pola,       Attn: Frank Pola, Jr.       pola@frankpolajr.com
                                                   Jr.

Counsel to Sonnedix USA Services Limited and       Law Offices of Herrero III      Attn: Ismael Herrero III    herreroiLLL@herrerolaw.com
its affiliated Sonnedix controlled entities GS     & Associates, P.S.C
Fajardo Solar LLC, Horizon Energy LLC,
Oriana Energy LLC, YFN Yabucoa Solar, LLC
Counsel for Marrero Plaintiffs                     Law Offices of Jane Becker      Attn: Jane Becker           janebeckerwhitaker@yahoo.com
                                                   Whitaker                        Whitake

Counsel to CMA Architects & Engineers, LLC,        Law Offices of John E.          Attn: John E. Mudd          jemudd@yahoo.com
Municipality of San Sebastian, the Corporación     Mudd
de Servicios Integrales de Salud del Area de
Barranquitas, Comerío, Corozal, Naranjito y
Orocovis, Asociacion de Salud Primaria de
Puerto Rico, et al., Plaintiff in Adversary
Proceeding 17-00227, and Corporacion de
Servicios Integrales de Salud del Area de
Barranquitas, Comero, Corozal, Naranjito Y
Orocovis, Plaintiff in Adversary Proceedings
17-00292 and 17-00298
Counsel to Del Valle Group, SP, Pablo Del          Law Offices of Michael          Attn: Michael Craig         craigmcc@me.com
Valle Rivera and María A. Martínez, Tenants in     Craig McCall                    McCall
Common, Fideicomiso Del Valle Martinez II
and Reliable Equipment Corporation
Attorney for Rosa E. Lespier Santiago              Lcdo. Norberto Colón            Attn: Norberto Colón        norbertocolonalvarado@yahoo.com
                                                   Alvarado                        Alvarado
Counsel to M Solar Generating, LLC                 Ledesma & Vargas, LLC           Attn: Fransheska Pabón      fpabon@lvvlaw.com
                                                                                   López

Counsel to Centro de Periodismo Investigativo      Legal Aid Clinic, UIA           Attn: Rafael E. Rodriguez   rrodriguez@juris.inter.edu
Inc., Plaintiff in Adversary Proceeding 17-00167                                   Rivera



                                                                            -29-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                              Document Page 31 of 63


Interested Party                                 Legal Partners, PSC               Attn: Juan M. Suarez-        suarezcobo@gmail.com
                                                                                   Cobo

Counsel to the Financial Oversight and           Legal Partners, PSC               Attn: Luis F. Del Valle      dvelawoffices@gmail.com
Management Board in Adversary Proceeding                                           Emmanuelli
17-00213 and 18-00149 and A&S Legal Studio,
PSC
Top 20 Unsecured Creidtor, COFINA                Lehman Brothers Holdings,         Attn: Thomas Hommell,        abhishek.kalra@lehmanholdings.com
                                                 Inc.                              Abhishek Kalra & Pamela
                                                                                   Simons
Counsel to Cooperativa de Ahorro y Crédito       Lemuel Negrón Colón                                            lemuel.law@gmail.com
Jayucoop

PBJL Energy Corporation, Plaintiff in            Lex Services PSC                  Attn: Ivan Diaz Lopez        ivandialo2001@yahoo.com
Adversary Proceeding 18-00063

Counsel to Stericycle                            Linares Palacios Law              Attn: Adrián R. Linares      alinares2020@yahoo.com
                                                 Offices                           Palacios

Counsel for Marrero Plaintiffs                   Loomis Legal                      Attn: Kendra Loomis          loomislegal@gmail.co
Counsel to Altair Global Credit Opportunities    López Sánchez & Pirillo,          Attn: Alicia I Lavergne      alavergne@lsplawpr.com
Fund (A), LLC, et al., Plaintiff in Adversary    LLC                               Ramirez
Proceedings 17-00219 and 17-00220
Counsel to UBS Family of Funds and the Puerto    López Sánchez & Pirillo,          Attn: José C. Sánchez-       jsanchez@lsplawpr.com
Rico Family of Funds, et al.                     LLC                               Castro, Alicia I. Lavergne   alavergne@lsplawpr.com
                                                                                   Ramírez, & Maraliz
                                                                                   Vázquez-Marrero
Counsel to Cooperativa de Ahorro y Crédito de    Lugo Mender Group, LLC            Attn: Wigberto Lugo          wlugo@lugomender.com
Aguada, Cooperativa de Ahorro y Crédito de Dr.                                     Mender, Esq.
Manuel Zeno Gandía, Cooperativa de Ahorro y
Crédito del Valenciano, Cooperativa de Ahorro
y Crédito de Juana Díaz, & Cooperativa de
Crédito y Ahorros de Rincón
Counsel to Joel Isander Cuadrado Delgado and     Lugo-Emanuelli Law                Attn: Luis R. Lugo           lawlugo1@gmail.com
Sonia Ivette Carrasquillo Calderón               Offices                           Emanuelli

Counsel to Cooperativa de Ahorro y Credito de    Luis Fred Salgado, Esq.                                        luisfredsalgado@hotmail.com
Empleadoes Municipales de Guaynabo (a/k/a
MUNICOOP)



                                                                            -30-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                                            Document Page 32 of 63


Counsel to the plaintiffs-intervenors in          M.L. & R.E. Law Firm             Attn: Jorge Martinez-         jorge@mlrelaw.com
Adversary Proceeding 18-00081 and 18-00090                                         Luciano, Emil Rodriguez-      emil@mlrelaw.com
                                                                                   Escudero

PBA Top 20 Creditor                               Mapfre-Praico Insurance          Attn: President or General    rdesoto@mapfrepr.com
                                                  Company                          Counsel

Counsel to Centro Del Sur Mall, LLC, 65           María Fernanda Vélez                                           mfvelezquiebras@gmail.com
Infanteria Shopping Center, LLC and Bard          Pastrana
Shannon Limited
Attorneys for Proposed Amicus Curiae the          Mariani Franco Law, P.S.C.       Attn: Raúl S. Mariani         marianifrancolaw@gmail.com
Autonomous Municipality of San Juan                                                Franco

Counsel to Cooperativa A/C, et.al and Industria   Marichal, Hernandez,             Attn: Rafael M. Santiago-     jnegron@mhlex.com
Lechera de Puerto Rico, Inc.                      Santiago & Juarbe, LLC           Rosa, Vanessa Medina-         rsantiago@mhlex.com
                                                                                   Romero, José Negrón-
                                                                                   Fernández
Counsel to Puerto Rico Fiscal Agency and          Marini Pietrantoni Muñiz,        Attn: Luis C. Marini-         lmarini@mpmlawpr.com
Financial Advisory Authority and Wanda            LLC                              Biaggi, Esq., Carolina        cvelaz@mpmlawpr.com
Vazques Garced, Plaintiff in Adversary                                             Velaz-Rivero, Esq., Iván      igarau@mpmlawpr.com
Proceedings 20-00082 - 20-00085, Ricardo                                           Garau-González, Esq.,         vblay@mpmlawpr.com
Rossello Nevares, and Government                                                   Valerie M. Blay-Soler
Development Bank for Puerto Rico
Counsel to John Hancock Investments               Martínez-Alvarez,                Attn: Roberto Lefranc         rlm@martilaw.com
                                                  Menéndez Cortada &               Morales & Francisco J.        jnazario@martilaw.com
                                                  Lefranc Romero, PSC              Ramos Martinez                fjramos@martilaw.com
                                                                                                                 jnazario@martilaw.com



Counsel to US Bank National Association as        Maslon LLP                       Attn: Clark T. Whitmore,      Clark.whitmore@maslon.com
Indenture Trustee                                                                  Esq., Brian J. Klein, Esq.,   Brian.klein@maslon.com
                                                                                   Jason M. Reed, Esq. &         Jason.reed@maslon.com
                                                                                   Ana Chilingarishvili,         Ana.chilingarishvili@maslon.com
                                                                                   Esq., William Z.              bill.pentelovitch@maslon.com
                                                                                   Pentelovitch & John T.        john.duffey@maslon.com
                                                                                   Duffey




                                                                            -31-
                Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                           Document Page 33 of 63


Counsel to Interamericas Turnkey, Inc. and       Maximiliano Trujillo-                                     maxtruj@gmail.com
Interamerican Turnkey Development Co., Inc.      Gonzalez, Esq.

Counsel to Mayagüezanos por la Salud y el        Mayagüezanos por la Salud      Attn: Julia Mignucci       julia.mignuccisanchez@gmail.com
Ambiente, Inc. (MSA)                             y el Ambiente, Inc.

Counsel to Monarch Alternative Capital LP,       McConnell Valdes LLC           Attn: Leslie Y. Flores-    lfr@mcvpr.com
Highfields Capital I LP, Highfields Capital II                                  Rodriguez, Esq.
LP, and Highfields Capital III LP.
Counsel to Autopistas de PR, LLC, Autopistas     McConnell Valdés, LLC          Attn: Nayuan               nzt@mcvpr.com
Metropolitanas de Puerto Rico, LLC, Puerto                                      Zouairabani, Esq.,         aaa@mcvpr.com
Rico Telephone Company d/b/a Claro and                                          Antonio A. Arias, Esq.,    rgf@mcvpr.com
Rexach Hermanos, Inc., Aguirre Offshore                                         Rosamar García-Fontán,     ezm@mcvpr.com
Gasport, LLC, Scotiabank de Puerto Rico &                                       Esq., Eduardo A. Zayas-    rcq@mcvpr.com
Vitol Inc., Pattern Santa Isabel LLC,                                           Marxuach, Rosamar          ajc@mcvpr.com
AmeriNational Community Services, LLC, UBS                                      Garcia-Fontan, Esq.,
Financial Services Inc., UBS Securities LLC.,                                   Alejandro J. Cepeda-Diaz
RBC Capital Markets, LLC, RBC Dominion                                          & Eduardo A. Zayas-
Securities Inc., Barclays Capital Inc./LE,                                      Marxuach Roberto C.
Limited Cousel to Cantor-Katz Collateral                                        Quiñones-Rivera, Esq.
Monitor LLC, and Counsel to Wells Fargo
Bank, National Association, Wells Fargo
Clearing Services LLC AKA or FKA First
Clearing LLC, Wells Fargo Securities, LLC,
Raymond James, TransCore Atlantic, Inc., N.
Harris Computer Corporation, ManpowerGroup,
Inc., Populicom, Inc. and Ramírez & Co., TD
Ameritrade Clearing, Inc., Scottrade, Inc.,
Barclays Cap/Fixed, and Barclays Cap/ London,
the Bank of Nova Scotia, Badillo Saatchi &
Saatchi Inc., Destilerias Serralles, Inc.,
AmeriNational Community Services, LLC as
servicer for the GDB Debt Recovery Authority,
the Schoenberg/SFT Bondholders, Evertec
Group, LLC, Bio-Medical Applications of
Puerto Rico, Inc., Promotions & Direct, Inc.,
MMM Healthcare, LLC, Auotpistas
Metropolitanas de Puerto Rico, LLC




                                                                         -32-
                Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                           Document Page 34 of 63


Counsel to Autopistas de PR, LLC, Autopistas    McConnell Valdés, LLC          Attn: Nayuan                nzt@mcvpr.com
Metropolitanas de Puerto Rico, LLC, Puerto                                     Zouairabani, Esq.,          aaa@mcvpr.com
Rico Telephone Company d/b/a Claro and                                         Antonio A. Arias, Esq.,     rgf@mcvpr.com
Rexach Hermanos, Inc., Aguirre Offshore                                        Rosamar García-Fontán,      ezm@mcvpr.com
Gasport, LLC, Scotiabank de Puerto Rico &                                      Esq., Eduardo A. Zayas-     rcq@mcvpr.com
Vitol Inc., Pattern Santa Isabel LLC,                                          Marxuach, Rosamar           ajc@mcvpr.com
AmeriNational Community Services, LLC, UBS                                     Garcia-Fontan, Esq.,        MPC@mcvpr.com
Financial Services Inc., UBS Securities LLC.,                                  Eduardo A. Zayas-
RBC Capital Markets, LLC, RBC Dominion                                         Marxuach, Alejandro J.
Securities Inc., Barclays Capital Inc./LE,                                     Cepeda-Diaz & Roberto
Limited Cousel to Cantor-Katz Collateral                                       C. Quiñones-Rivera, Esq.,
Monitor LLC, and Counsel to Wells Fargo                                        Myrgia M. Palacios-
Bank, National Association, Wells Fargo                                        Cabrera, Esq.
Clearing Services LLC AKA or FKA First
Clearing LLC, Wells Fargo Securities, LLC,
Raymond James, TransCore Atlantic, Inc., N.
Harris Computer Corporation, ManpowerGroup,
Inc., Populicom, Inc. and Ramírez & Co., TD
Ameritrade Clearing, Inc., Scottrade, Inc.,
Barclays Cap/Fixed, and Barclays Cap/ London,
the Bank of Nova Scotia, Badillo Saatchi &
Saatchi Inc., Destilerias Serralles, Inc.,
AmeriNational Community Services, LLC as
servicer for the GDB Debt Recovery Authority,
the Schoenberg/SFT Bondholders, Evertec
Group, LLC, Bio-Medical Applications of
Puerto Rico, Inc., Promotions & Direct, Inc.,
MMM Healthcare, LLC, Auotpistas
Metropolitanas de Puerto Rico, LLC, UBS
Financial Services of Puerto Rico, and UBS
Trust Company of Puerto Rico
Counsel to Cesar Castillo, Inc.                 MCD Law, LLC                   Attn: Hernando A. Rivera    harlawpr@gmail.com


Counsel to Goldman Sachs Asset Management,      McDermott Will and Emery       Attn: Brandon Q. White,     bqwhite@mwe.com
LP                                                                             Esq, Nathan Coco, Esq.      ncoco@mwe.com

Co-counsel to Jefferies LLC and BMO Capital     McGuire Woods, LLC             Attn: Aaron G.              amccollough@mcguirewoods.com
Markets GKST, Inc.                                                             McCollough
Co-counsel to Jefferies LLC and BMO Capital     McGuire Woods, LLC             Attn: E Andrew              asoutherling@mcguirewoods.com


                                                                        -33-
                Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                   Desc: Main
                                           Document Page 35 of 63


Markets GKST, Inc.                                                             Southerling
Counsel to Luis Modesto Rodríguez Rivera,       Miguel Ángel Serrano-                                       serrano.urdaz.law@hotmail.com
Juan Alberto Santiago Meléndez, César           Urdaz
Caminero Ramos, Rafael Bonilla Rivera, Julio
Rancel López, & Emmanuel Rodríguez Collazo
Counsel to Ambac Assurance Corporation          Milbank LLP                    Attn: Dennis F. Dunne,       ddunne@milbank.com
                                                                               Andrew M. Leblanc,           amiller@milbank.com
                                                                               Atara Miller, Grant R.       gmainland@milbank.com
                                                                               Mainland, John J.             jhughes2@milbank.com
                                                                               Hughes, III, Jonathan        johring@milbank.com
                                                                               Ohring

Unsecured Creditor                              Miriam Sanchez Lebron                                       sanchez.lebron501@gmail.com


Counsel to Peaje Investments LLC, Service       Monserrate Simonet &           Attn: Dora L. Monserrate     dmonserrate@msglawpr.com
Employees International Union and United Auto   Gierbolini, LLC                Peñagarícano, Miguel         fgierbolini@msglawpr.com
Workers International Union and Davidson                                       Simonet-Sierra, Fernando     msimonet@msglawpr.com
Kempner Capital Management LP                                                  J. Gierbolini-González,      rschell@msglawpr.com
                                                                               Richard J. Schell; Ricardo
                                                                               R. Lozada-Franco

Counsel to Branch Banking and Trust Company,    Moore & Van Allen PLLC         Attn: Luis M. Lluberas       luislluberas@mvalaw.com
BB&T Securities, LLC, Regions Bank and The
Huntington National Bank
Counsel for Carlos R. Méndez & Associates       Morell, Cartagena &            Attn: Ramón E. Dapena        ramon.dapena@mbcdlaw.com
                                                Dapena
Counsel to Goldman Sachs Asset Management,      Morell, Cartagena &            Attn: Ramón E. Dapena,       ramon.dapena@mbcdlaw.com
LP, Goldman Sachs & Co., LLC., Citigroup        Dapena                         Víctor J. Quiñones           ivan.llado@mbcdlaw.com
Inc., Citigroup Global Markets Inc., and                                       Martínez and Ivan J Llado
Citibank, N.A.
Counsel to Goldman Sachs Asset Management,      Morell, Cartagena &            Attn: Ramón E. Dapena,       ramon.dapena@mbcdlaw.com
LP, Goldman Sachs & Co., LLC., Citigroup        Dapena                         Víctor J. Quiñones           victor.quinones@mbcdlaw.com
Inc., Citigroup Global Markets Inc., and                                       Martínez, and Ivan J         ivan.llado@mbcdlaw.com
Citibank, N.A.                                                                 Llado




                                                                        -34-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                              Desc: Main
                                            Document Page 36 of 63


Counsel to the QTCB Noteholder Group              Morgan, Lewis & Bockius     Attn: Kurt A. Mayr,       kurt.mayr@morganlewis.com
(Canyon Capital Advisors LLC, River Canyon        LLP                         David L. Lawton,          david.lawton@morganlewis.com
Fund Management LLC, Davidson Kempner                                         Shannon B. Wolf           shannon.wolf@morganlewis.com
Capital Management LP, OZ Management LP,
OZ Management II LP) and to Davidson
Kempner Distressed Opportunities Fund L.P.,
Davidson Kempner Distressed Opportunities
International Ltd., Davidson Kempner
Institutional Partners, L.P., Davidson Kempner
International, Ltd., Davidson Kempner Partners,
M.H. Davidson & Co., Gordel Capital Limited,
Sculptor Credit Opportunities Master Fund, Ltd.
(f/k/a OZ Credit Opportunities Master Fund,
Ltd.), Sculptor Enhanced Master Fund, Ltd.
(f/k/a OZ Enhanced Mater Fund, Ltd.), Sculptor
GC Opportunities Master Fund, Ltd. (f/k/a OZ
GC Opportunities Master Fund, Ltd.), Sculptor
Capital LP (f/k/a OZ Management LP), Sculptor
Master Fund, Ltd. (f/k/a OZ Master Fund, Ltd.),
and Sculptor SC II, LP (f/k/a OZSC II
L.P.),Canyon Balanced Master Fund, Ltd.,
Canyon Blue Credit Investment Fund L.P.,
Canyon Distressed Opportunity Investing Fund
II, L.P., Canyon Distressed Opportunity Master
Fund II, L.P., Canyon NZ-DOF Investing, L.P.,
Canyon Value Realization Fund, L.P., Canyon
Value Realization MAC 18, Ltd., Canyon-ASP
Fund, L.P., Canyon-GRF Master Fund II, L.P.,
Canyon-SL Value Fund, L.P, EP Canyon LTD,
and the Canyon Value Realization Master Fund,
L.P.
Attorneys for Edward D. Jones & Corp.             Morgan, Lewis & Bockius     Attn: Rachel J. Mauceri   rachel.mauceri@morganlewis.com
                                                  LLP




                                                                       -35-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                            Desc: Main
                                            Document Page 37 of 63


Counsel to an ad hoc group of certain holders of   Morrison & Foerster LLP      Attn: James M. Peck &   JPeck@mofo.com
Government Facilities Revenue Bonds,                                            Gary S. Lee             GLee@mofo.com
Government Facilities Revenue Refunding
Bonds (PBA Funds), Black Rock Financial
Management, Inc., Deutsche Bank Securities,
Inc., First Pacific Advisors, LLC, JNL Multi-
Manager Alternative Fund, a Series of JNL
Services Trust, Pelican Fund, LP, Silver Point
Capital Fund, L.P., and Silver Point Capital
Offshore Master Fund, L.P., and co-counsel for
Candlewood Constellation SPC Ltd., Acting for
and on behalf of Candlewood Puerto Rico SP,
Emso Asset Management Ltd. Mason Capital
Master Fund, L.P. and VR Advisory Services
Ltd. in Adversary Proceeding 19-00291 and co-
counsel to Defendant FPA Crescent Fund in
Adversary Proceeding 19-00292 and co-counsel
to Defendants Fir Tree Capital Opportunity
Master Fund III, LP; Fir Tree Capital
Opportunity Master Fund, LP; Fir Tree Value
Master Fund, LP; FPA Global Opportunity
Fund, a Series of FPA Hawkeye Fund, LLC;
FPA Hawkeye Fund, a Series of FPA Hawkeye
Fund, LLC, FPA Select Fund, L.P.; FPA Value
Partners Fund, a Series of FPA Hawkeye Fund,
LLC; FT COF (E) Holdings, LLC; FT SOF IV
Holdings, LLC; Global Flexible Fund, a sub-
fund of Nedgroup Investment Funds PLC;
Lannan Foundation; Litman Gregory Masters
Alternative Strategies Fund, a series of Litman
Gregory Funds Trust; Ulysses Offshore Fund,
Ltd.; Ulysses Partners, LP; and VR Global
Partners, LP in Adversary Proceeding 19-00295




                                                                         -36-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                               Desc: Main
                                            Document Page 38 of 63


Counsel to Fir Tree Capital Opportunity Master     Morrison & Foerster LLP      Attn: James M. Peck,      jpeck@mofo.com
Fund III, LP, Fir Tree Capital Opportunity                                      Gary S. Lee, James A.     glee@mofo.com
Master Fund, LP, Fir Tree Value Master Fund,                                    Newton, Lena H. Hughes,   jnewton@mofo.com
LP, FPA Global Opportunity Fund, a Series of                                    Andrew R. Kissner         lhughes@mofo.com
FPA Hawkeye Fund, LLC, FPA Hawkeye Fund,                                                                  akissner@mofo.com
a Series of FPA Hawkeye Fund, LLC, FPA
Select Fund, L.P., FPA Value Partners Fund, a
Series of FPA Hawkeye Fund, LLC, FT COF
(E) Holdings, LLC, FT SOF IV Holdings, LLC,
Global Flexible Fund, a sub-fund of Nedgroup
Investment Funds PLC, Lannan Foundation,
Litman Gregory Masters Alternative Strategies
Fund, a series of Litman Gregory Funds Trust,
Ulysses Offshore Fund, Ltd., Ulysses Partners,
LP, VR Global Partners, LP, Candlewood
Constellation SPC Ltd., Acting for and on behalf
of Candlewood Puerto Rico SP, Emso Asset
Management Ltd., Mason Capital Master Fund,
L.P., VR Advisory Services Ltd, FPA Crescent
Fund, a Series of FPA Funds Trust, Black Rock
Financial Management, Inc., Deutsche Bank
Securities, Inc., First Pacific Advisors, LLC,
JNL Multi-Manager Alternative Fund, a Series
of JNL Services Trust, Pelican Fund, LP, Silver
Point Capital Fund, L.P., and Silver Point
Capital Offshore Master Fund, L.P.




                                                                         -37-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 39 of 63


Counsel to Fir Tree Capital Opportunity Master     Morrison & Foerster LLP         Attn: Joseph R. Palmore    jpalmore@mofo.com
Fund III, LP, Fir Tree Capital Opportunity
Master Fund, LP, Fir Tree Value Master Fund,
LP, FPA Global Opportunity Fund, a Series of
FPA Hawkeye Fund, LLC, FPA Hawkeye Fund,
a Series of FPA Hawkeye Fund, LLC, FPA
Select Fund, L.P., FPA Value Partners Fund, a
Series of FPA Hawkeye Fund, LLC, FT COF
(E) Holdings, LLC, FT SOF IV Holdings, LLC,
Global Flexible Fund, a sub-fund of Nedgroup
Investment Funds PLC, Lannan Foundation,
Litman Gregory Masters Alternative Strategies
Fund, a series of Litman Gregory Funds Trust,
Ulysses Offshore Fund, Ltd., Ulysses Partners,
LP, VR Global Partners, LP, Candlewood
Constellation SPC Ltd., Acting for and on behalf
of Candlewood Puerto Rico SP, Emso Asset
Management Ltd., Mason Capital Master Fund,
L.P., VR Advisory Services Ltd, FPA Crescent
Fund, a Series of FPA Funds Trust, Black Rock
Financial Management, Inc., Deutsche Bank
Securities, Inc., First Pacific Advisors, LLC,
JNL Multi-Manager Alternative Fund, a Series
of JNL Services Trust, Pelican Fund, LP, Silver
Point Capital Fund, L.P., and Silver Point
Capital Offshore Master Fund, L.P.
Counsel to Universidad Interamericana, Inc.        Muñoz Benitez Brugueras         Attn: Jaime Brugueras      jbrugue@mbbclawyers.com
                                                   & Cruz

Counsel to Trinity Services I, LLC                 Nazario Briceño Law             Attn: Miguel A. Nazario,   man@nblawpr.com
                                                   Offices, LLC                    Jr., Esq.

Counsel to Santander Securities, LLC,              Nelson Robles-Diaz Law          Attn: Nelson Robles-Díaz   nroblesdiaz@gmail.com
Santander Asset Management, LLC, and Banco         Offices, P.S.C.
Santander Puerto Rico
Co -counsel to Cooperativa de Ahorro & Credito     Nevares, Sanchez-Alvarez        Attn: Andres R. Nevares,   info@NSACLAW.com
San Rafael; Co- Counsel to Cooperativa de A/C      & Cancel PSC                    Lemuel Cancel, Isabel M.   anevares@nsaclaw.com
Camuy                                                                              Fullana                    lcancel@nsaclaw.com
                                                                                                              ifullana@gaflegal.com



                                                                            -38-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 40 of 63


Counsel to Debtor and to the Oversight Board     O’Neill & Borges, LLC          Attn: Hermann Bauer,          hermann.bauer@oneillborges.com
and UTIER                                                                       Esq., Ubaldo M.               daniel.perez@oneillborges.com
                                                                                Fernández, & Carla            ubaldo.fernandez@oneillborges.com
                                                                                García Benítez                Carla.garcia@oneillborges.com
                                                                                                              gabriel.miranda@oneillborges.com


Counsel to the Office of Government Ethics of    Office of Government           Attn: Lillian T. de la Cruz   ldelacruz@oeg.pr.gov
Puerto Rico                                      Ethics of Puerto Rico          Torres; Nino F Rivera
                                                                                Hernandez
Counsel to AIG Insurance Company & P. R.         Oliveras & Ortiz Law           Attn: Luis Ramón Ortiz        l.ortizsegura@ploolaw.com
Used Oil Collectors, Inc.                        Offices, PSC                   Segura, Esq.

Counsel to Antilles Power Depot, Inc.            Olivieri-Geigel & Co.          Attn: Rafael V. Olivieri-     lawrog@gmail.com
                                                                                Geigel, Esq.

Counsel to the Puerto Rico Fiscal Agency and     O'Melveny & Myers, LLP         Attn: Elizabeth Lemond        emckeen@omm.com
Financial Advisory Authority on behalf of the                                   McKeen & Ashley Pavel         apavel@omm.com
Governor of Puerto Rico & AAFAF

Counsel to the Puerto Rico Fiscal Agency and     O'Melveny & Myers, LLP         Attn: John J. Rapisardi,      jrapisardi@omm.com
Financial Advisory Authority                                                    Esq., Suzzanne Uhland,        pfriedman@omm.com
                                                                                Esq., Diana M. Perez,         dperez@omm.com
                                                                                Esq., Peter Friedman,         dcantor@omm.com
                                                                                Esq., Daniel L. Cantor,       mdiconza@omm.com
                                                                                Esq., William J. Sushon,      wsushon@omm.com
                                                                                Maria J. DiConza, Esq.

Counsel to the Puerto Rico Fiscal Agency and     O'Melveny & Myers, LLP         Attn: M. Randall              roppenheimer@omm.com
Financial Advisory Authority                                                    Oppenheimer

Counsel to the Puerto Rico Fiscal Agency and     O'Melveny & Myers, LLP         Attn: Madhu Pocha             mpocha@omm.com
Financial Advisory Authority

Counsel to the Puerto Rico Fiscal Agency and     O'Melveny & Myers, LLP         Attn: Peter Friedman          pfriedman@omm.com
Financial Advisory Authority

Counsel to Liberty Cablevision of Puerto Rico,   Orlando Fernández Law          Attn: Orlando Fernández       ofernandez@oflawoffice.com
LLC                                              Offices




                                                                         -39-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                            Document Page 41 of 63


Counsel to Julio E Leandry-Hernández and           Orlando Ortiz-Cintron, Esq.                             orlando1701@gmail.com
Ileana Ortiz-Santiago

Counsel to Gladys García Rubiera, et al. v. Hon.   Oronoz & Oronoz                 Attn: Mario M. Oronoz   mmo@oronozlaw.com
Luis G. Fortuño, et al; and Gladys García                                          Rodríguez
Rubiera, et al, v. Asociación de Suscripción
Conjunta, et al, Civil Number K DP2001-1441
Counsel to TD Ameritrade Clearing Inc., and        Orrick, Herrington &            Attn: Tiffany Rowe      TRowe@orrick.com
Scottrade, Inc.                                    Sutcliffe, LLP

Counsel to Universidad Central del Caribe, Inc.    Oscar Gonzalez Badillo                                  gonzalezbadillo@gmail.com


Counsel to Ismael Rivera Grau, Lourdes             Osvaldo Toledo Martinez,                                toledo.bankruptcy@gmail.com
Morales Reyes, La Sociedad Legal de                Esq.
Gananciales Compuesta Por Ambos, Maria
Elena Garcia Caballero T/C/C Maria E. Garcia,
Elena Garcia Caballero, Luls Enrique Pacheco
Núñez T/C/C Luls Pacheco Núñez, Hector
Cesario Santiago Rivera, Virginia Diaz Delagdo,
Félix Omar Colón Bernard, José Vázquez
Feliciano, Marta Vázquez Torres, Neftaly
Méndez Vázquez, Joseph Negrón Vázquez, and
the Succession of Armando Negrón Vázquez
Comprised by his heirs, Raymond Armando
Negrón López and Alondra Janisse Negrón
Santana, Rey Reyes Reyes, Ruth Rosado Berrios
by herself and respresentation of her Son Janzel
Daniel Quintana Rosado, Jetstream Federal
Credit Union, Carmen Lydia Ríos Arroyo, Pablo
Juan Ríos Arroyo, Elena Marie Marrero Ríos By
Herself and in representation of her sons,
Deborah Marie Santana Marrero and Erick Joel
Santana Marrero, Lorna Lee Marrero Ríos by
herself and in representation of her daughter
Dariana Liz Marrero Marrero and Elena Arroyo
Vázquez
Counsel to Samuel Rodriguez Claudio                Otero and Associates            Attn: George Otero      Otero_and_assoc@hotmail.com
                                                                                   Calero




                                                                            -40-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 42 of 63


Counsel to Pattern Santa Isabel LLC               Pattern Energy Group Inc.       Attn: General Counsel       daniel.elkort@patternenergy.com


Counsel to the Official Committee of Unsecured    Paul Hastings, LLP              Attn: Luc A. Despins,       lucdespins@paulhastings.com
Creditors                                                                         Esq., Andrew V. Tenzer,     andrewtenzer@paulhastings.com
                                                                                  Esq., James R. Bliss,        jamesbliss@paulhastings.com
                                                                                  Esq., James B.              jamesworthington@paulhastings.com
                                                                                  Worthington, Esq.,          anthonybuscarino@paulhastings.com
                                                                                  Anthony F. Buscarino,       michaelcomerford@paulhastings.com
                                                                                  Esq., Michael E.            alexbongartz@paulhastings.com
                                                                                  Comerford, Esq., and G.
                                                                                  Alexander Bongartz, Esq.
Counsel to the Official Committee of Unsecured    Paul Hastings, LLP              Attn: Nicholas Bassett      nicholasbassett@paulhastings.com
Creditors

Counsel to the Ad Hoc Group of General            Paul, Weiss, Rifkind,           Attn: Andrew N.             arosenberg@paulweiss.com
Obligation Bondholders & Aurelius Capital         Wharton & Garrison, LLP         Rosenberg, Richard A.        rrosen@paulweiss.com
Master, Ltd., Plaintiff in Adversary Proceeding                                   Rosen, Walter Rieman,       wrieman@paulweiss.com
17-00189, PBA Sub-Group of the                                                    Kyle J. Kimpler, Karen R.   kkimpler@paulweiss.com
Commonwealth Bondholder Group Plaintiff in                                        Zeituni                     kzeituni@paulweiss.com
Adversary Proceeding 18-00149
Counsel to Super Asphalt Pavement Corporation     Pavia & Lazaro, PSC             Attn: Gerardo Pavía         gpavia@pavialazaro.com
                                                                                  Cabanillas                  gerardopavialaw@msn.com


Plaintiff in Adv. Proc. No. 17-00151, 17-00152    Peaje Investments, LLC          National Corporate          peajeinfo@dechert.com
& 19-00363                                                                        Research, Ltd.

Pedro A. Vargas-Fontánez, Interested Party        Pedro A. Vargas-Fontánez                                    pevarfon@gmail.com


Counsel to Caribbean Hospital Corporation         Pedro Nicot Santana, Esq.                                   pedronicot@gmail.com


Peerless Oil & Chemicals, Inc.                    Peerless Oil & Chemicals,       Attn: Eng.. Luis R.         luis.vazquez@peerlessoil.com
                                                  Inc.                            Vazquez

Counsel to GMS Group, LLC                         Perkins Coie LLP                Attn: Gary F. Eisenberg     geisenberg@perkinscoie.com




                                                                           -41-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                             Document Page 43 of 63


Counsel to Backyard Bondholders                 Picó & Blanco, LLC              Attn: Ana M. del Toro        adtoro@pico-blanco.com
                                                                                Sabater, Esq.

Counsel to Eduardo Bhatia Gautier               Pietrantoni Mendez &            Attn: Margarita Mercado-     mmercado@mercado-echegaray-law.com
                                                Alvarez                         Echegaray                    margaritalmercado@gmail.com
Counsel to the Government Development Bank      Pietrantoni Méndez &            Attn: Oreste R. Ramos &      oramos@pmalaw.com
for Puerto Rico                                 Alvarez LLC                     María D. Trelles             mtrelles@pmalaw.com
                                                                                Hernández

Counsel to Puerto Rico Industrial Development   PLC Law                         Attn: Luis R. Ramos-         lramos@plclawpr.com
Company (PRIDCO)                                                                Cartagena
PBA Top 20 Creditor                             Plumbing & Sewer                Attn: President or General   bjquintana@quintanapr.com
                                                Cleaning Rus Corp.              Counsel

PBA Top 20 Creditor                             Polymer Industries Inc          Attn: President or General   erovira@polymerpr.com
                                                                                Counsel

Populicom, Inc.                                 Populicom, Inc.                 Attn: President or General   gpaz@populicom.com
                                                                                Counsel
Claims Agent                                    Prime Clerk, LLC                Attn: Christopher            puertoricoteam@primeclerk.com
                                                                                Schepper                     serviceqa@primeclerk.com
Counsel to Debtor (Financial Oversight and      Proskauer Rose, LLP             Attn: Guy Brenner, Colin     gbrenner@proskauer.com
Management Board as Representative for the                                      Kass, & M. Rina Kim          ckass@proskauer.com
Debtors)                                                                                                     rkim@proskauer.com




                                                                         -42-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                            Document Page 44 of 63


Counsel to Debtor (Financial Oversight and     Proskauer Rose, LLP            Attn: Martin J.              mbienenstock@proskauer.com
Management Board as Representative for the                                    Bienenstock, Paul V.         ppossinger@proskauer.com
Debtors)                                                                      Possinger, Ehud Barak,       ebarak@proskauer.com
                                                                              Lary Alan Rappaport,         sratner@proskauer.com
                                                                              Michael A. Firestein,        tmungovan@proskauer.com
                                                                              Stephen L. Ratner,           bbobroff@proskauer.com
                                                                              Timothy W. Mungovan,         mfirestein@proskauer.com
                                                                              Bradley R. Bobroff,          lrappaport@proskauer.com
                                                                              Chantel L. Febus, Kevin      cfebus@proskauer.com
                                                                              J. Perra, Julia D. Alonzo,   kperra@proskauer.com
                                                                              Jonathan E. Richman,         jerichman@proskauer.com
                                                                              Jeffrey W. Levitan, Brian    jalonzo@proskauer.com
                                                                              S. Rosen, Kevin J. Perra,    JLevitan@proskauer.com
                                                                              Margaret A. Dale, Gregg      BRosen@proskauer.com
                                                                              M. Mashberg, Margaret        dmunkittrick@proskauer.com
                                                                              A. Dale, Gregg M.
                                                                              Mashberg, Mark Harris
Counsel to Debtor (Financial Oversight and     Proskauer Rose, LLP            Attn: Michael R. Hackett,    wdalsen@proskauer.com
Management Board as Representative for the                                    William D. Dalsen, Laura     MHackett@proskauer.com
Debtors)                                                                      E. Stafford                  lstafford@proskauer.com

Counsel to Debtor (Financial Oversight and     Proskauer Rose, LLP            Attn: Steven O. Weise,       sweise@proskauer.com
Management Board as Representative for the                                    Lary Alan Rappaport,         LRappaport@proskauer.com
Debtors)                                                                      Michael A. Firestein         mfirestein@proskauer.com

Prosol-Utier                                   Prosol-Utier                                                prosol@utier.org


Counsel to EcoEléctrica, L.P.                  PRV Law Office                 Attn: Paúl A. Rodríguez      prodriguez@prvlaw.com
                                                                              Vélez

Counsel to Commonwealth of Puerto Rico in      Puerto Rico Department of      Attn: Susana I               penagaricanobrownusdc@gmail.com
Adversary Proceeding 17-00292                  Justice                        Penagaricano-Brown

Counsel to Elí Díaz Atienza, Ralph A. Kreil,   Puerto Rico Electric Power     Attn: Carlos M. Aquino-      c-aquino@prepa.com
Christian Sobrino Vega, David K. Owens,        Authority                      Ramos
Charles Bayles, Robert Pou, María Palou
Abasolo, and José Ortiz, Defendants in
Adversary Proceeding (18-00047)



                                                                       -43-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                            Document Page 45 of 63


Puerto Rico Fiscal Agency and Financial          Puerto Rico Fiscal Agency      Attn: Mohammad S.           Carlos.Saavedra@aafaf.pr.gov
Advisory Authority                               and Financial Advisory         Yassin, Christian Sobrino   Rocio.Valentin@aafaf.pr.gov
                                                 Authority                      Vega, Carlos Saavedra,
                                                                                Esq., Rocío Valentin,
                                                                                Esq.
Puerto Rico Telephone Company d/b/a Claro        Puerto Rico Telephone          Attn: Francisco J. Silva    fsilva@claropr.com
                                                 Company d/b/a Claro

Counsel to the COFINA Senior Bondholders,        Quinn Emanuel Urquhart &       Attn: Susheel Kirpalani,    susheelkirpalani@quinnemanuel.com
Lawful Constitutional Debt Coalition             Sullivan, LLP                  Eric Winston, Daniel        ericwinston@quinnemanuel.com
                                                                                Salinas, Eric Kay, Kate     danielsalinas@quinnemanuel.com
                                                                                Scherling, Zachary          erickay@quinnemanuel.com
                                                                                Russell, Matthew Scheck,    katescherling@quinnemanuel.com
                                                                                K. John Shaffer             johnshaffer@quinnemanuel.com
                                                                                                            matthewscheck@quinnemanuel.com
                                                                                                            zacharyrussell@quinnemanuel.com
Counsel to IKON Solutions, Inc. and Milton       Quinones Vargas Law            Attn: Damaris Quiñones      damarisqv@bufetequinones.com
Portalatin Perez                                 Offices                        Vargas, Esq.

Counsel to The Board of Trustees of the Puerto   Rafael A. Ortiz-Mendoza                                    rafael.ortiz.mendoza@gmail.com
Rico Electric Power Authority Employees’
Retirement System, Juan Carlos Adrover,
Sammy Ramírez and Alvin Román
Counsel to Silvia Consuelo Blasini Batista,      Ramon Torres Rodriguez,                                    rtorres@torresrodlaw.com
Annette Mary Blasini Batista, Antonia Rita       Esq.
Blasini Batista and Silvia Batista Castresana
Counsel to Saybolt L.P., a d/b/a SAYBOLT         Ramos Gonzalez & Toyos         Attn: José O. Ramos-        rgtolaw@gmail.com
                                                 Olascoaga, CSP                 González

Counsel for Defendant Saybolt, LP                Ramos Gonzalez & Toyos         Attn: José O. Ramos-        rgtolaw@gmail.com
                                                 Olascoaga, CSP                 González, Yolanda V.        ytoyos@ramostoyoslaw.com
                                                                                Toyos Olascoaga
Counsel to Carmen Rodriguez Colon                RB Law Offices                 Attn: Enid S. Rodriguez-    erb@rodriguezbinetlaw.com
                                                                                Binet

Counsel to the Bank of New York Mellon, as       Reed Smith, LLP                Attn: C. Neil Gray, David   cgray@reedsmith.com
Indenture Trustee for Senior and Subordinated                                   M. Schlecker                dschlecker@reedsmith.com
COFINA Bondholders




                                                                         -44-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                Desc: Main
                                            Document Page 46 of 63


Counsel to Siemens Transportation Partnership      Reed Smith, LLP              Attn: Claudia Springer    cspringer@reedsmith.com
Puerto Rico, S.E. and Siemens Corporation

Counsel to the Bank of New York Mellon, as         Reed Smith, LLP              Attn: Eric A. Schaffer,   eschaffer@reedsmith.com
Indenture Trustee for Senior and Subordinated                                   Luke A. Sizemore, and     lsizemore@reedsmith.com
COFINA Bondholders                                                              Jared S. Roach            jroach@reedsmith.com

Counsel to the Bank of New York Mellon, as         Reed Smith, LLP              Attn: Kurt F. Gwynne,     kgwynne@reedsmith.com
Indenture Trustee for Senior and Subordinated                                   Esq.
COFINA Bondholders
Counsel to Cobra Acquisitions LLC                  Reichard & Escalera, LLC     Attn: Alana M.            vizcarrondo@reichardescalera.com
                                                                                Vizcarrondo-Santana

Counsel to Cobra Acquisitions LLC                  Reichard & Escalera, LLC     Attn: Alana M.            vizcarrondo@reichardescalera.com
                                                                                Vizcarrondo-Santana

Counsel to the COFINA Senior Bondholders           Reichard & Escalera, LLC     Attn: Rafael Escalera     escalera@reichardescalera.com
Coalition, Lawful Constitutional Debt Coalition,                                Rodríguez, Sylvia M.      arizmendis@reichardescalera.com
Cobra Acquisitions LLC                                                          Arizmendi, Alana          vizcarrondo@reichardescalera.com
                                                                                Vizcarrondo-Santana,      fvander@reichardescalera.com
                                                                                Fernando Van Derdys,      riverac@reichardescalera.com
                                                                                Carlos R. Rivera-Ortiz

Counsel to Morovis Community Health Center,        Reno & Cavanaugh, PLLC       Attn: Iyen A. Acosta      iacosta@renocavanaugh.com
Corporacion De Servicios De Salud Y Medicina
De Avanzada, HPM Foundation Inc., Concilio
De Salud Integral De Loiza, Inc., & Neomed
Center, Inc., Attorneys for Migrant Health
Center, Inc., Attorneys for Salud Integral en la
Montana
Counsel to Morovis Community Health Center,        Reno & Cavanaugh, PLLC       Attn: Thomas T.           tpennington@renocavanaugh.com
Corporacion De Servicios De Salud Y Medicina                                    Pennington
De Avanzada, Concilio De Salud Integral De
Loiza, Inc. & Neomed Center, Inc., Migrant
Health Center, Inc., and Salud Integral en la
Montana
Counsel to ReSun (Barceloneta), LLC                ReSun (Barceloneta), LLC     Attn: Maria I. Baco       maria.baco@msn.com
                                                                                Alfaro




                                                                         -45-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                         Desc: Main
                                             Document Page 47 of 63


Counsel to Financial Guaranty Insurance            Rexach & Picó, CSP               Attn: Maria E. Picó            mpico@rexachpico.com
Company

Rexach Hermanos, Inc.                              Rexach Hermanos, Inc.            Attn: Paul R. Cortes-          prcr@mcvpr.com
                                                                                    Rexach

Counsel to Carlos Ifarraguerri Gomez, MD and       Rhonda M. Castillo                                              rhoncat@netscape.net
Helvia Cruz Ybarra                                 Gammill

Counsel to Milagros Méndez Arvelo and              Ricardo L. Castillo                                             filippetti_r@hotmail.com
Maritza Nieves Torres                              Filippetti, Esq.                                                castilloricardo977@gmail.com
Counsel to Management Consultants &                Ricardo L. Ortiz-Colón,                                         ortizcolonricardo@gmail.com
Computer Services. Inc.                            Esq.                                                            rortiz@rloclaw.onmicrosoft.com
Counsel to White Box Advisors LLC                  Richards Kibbe & Orbe            Attn: Lee S. Richards III,     lrichards@rkollp.com
                                                   LLP                              Daniel C. Zinman, Paul J.      dzinman@rkollp.com
                                                                                    Devlin                         pdevlin@rkollp.com

Counsel to Lord Electric Company of Puerto         Rickenbach Ojeda                 Attn: Nanette Rickenbach       nrickenbach@rickenbachpr.com
Rico                                               Attorneys at Law PSC

Counsel to South Parcel of Puerto Rico, SE and     Rivera Colón, Rivera Torres      Attn: Victor M. Rivera-        victorriverarios@rcrtrblaw.com
Caribbean Airport Facilities, Inc.                 & Rios Berly, PSC                Rios

Counsel to US Bank, National Association and       Rivera Tulla & Ferrer, LLC       Attn: Eric A. Tulla, Iris J.   etulla@riveratulla.com
US Bank Trust, National Association, each as                                        Cabrera-Gómez, Manuel          icabrera@riveratulla.com
Trustee for various Bond Issues; U.S. Bank                                          Rivera Aguiló                  marivera@riveratulla.com
National Association, in its capacity as
Indenture Trustee
Counsel to the Ad Hoc Group of General             Robbins, Russell, Englert,       Attn: Lawrence S.              lrobbins@robbinsrussell.com
Obligation Bondholders & Aurelius Capital          Orseck, Untereiner &             Robbins, Gary A. Orseck,       gorseck@robbinsrussell.com
Master, Ltd., Plaintiff in Adversary Proceeding    Sauber, LLP                      Kathryn S. Zecca, Donald       kzecca@robbinsrussell.com
17-00189, PBA Sub-Group of the                                                      Burke & Joshua S. Bolian       dburke@robbinsrussell.com
Commonwealth Bondholder Group Plaintiff in                                                                         jbolian@robbinsrussell.com
Adversary Proceeding 18-00149


Counsel to Rene Pinto-Lugo, et al., Plaintiff in   Roberto Maldonado Law            Attn: Roberto O.               romn1960@gmail.com
Adversary Proceeding 18-00041, and Manuel          Office                           Maldonado-Nieves
Natal-Albelo Plaintiff in Adversary Proceeding
19-00003


                                                                             -46-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                Desc: Main
                                              Document Page 48 of 63


Interested Party                                   Roberto Quiles                                           estudiolegalrivera2@gmail.com


Counsel to the Ad Hoc Puerto Rico                  Rochelle McCullough, LLP       Attn: Michael R.          buzz.rochelle@romclaw.com
Municipalities Committee                                                          Rochelle, Esq. & Kevin    kdm@romclaw.com
                                                                                  D. McCullough, Esq.

Counsel to American Federation of State,           Rodriguez Banchs, CSP          Attn: Manuel A.           manuel@rodriguezbanchs.com
County and Municipal Employees and                                                Rodríguez Banchs &        rosasegui@yahoo.com
Federación Central de Trabajadores, U.F.C.W.,                                     Rosa M. Seguí-Cordero
Local 481, Plaintiff in Adversary Proceeding 18-
00134, Counsel to SOMOS, Inc.
Counsel to Asociacion de Salud Primaria de         Rodriguez Marxuach Law         Attn: Miguel J.           mrm@rmlawpr.com
Puerto Rico, et al., Plaintiff in Adversary        Offices, PSC                   Rodriguez-Marxuach
Proceeding 17-00227
Counsel to Knighthead Capital Management,          Ropes & Gray LLP               Attn: Douglas H.          Douglas.Hallward-Driemeier@ropesgray.com
LLC and certain funds and accounts managed or                                     Hallward-Driemeier
advised by it
Counsel to Knighthead Capital Management,          Ropes & Gray LLP               Attn: Keith H. Wofford,   Keith.Wofford@ropesgray.com
LLC and certain funds and accounts managed or                                     Daniel G. Egan            Daniel.Egan@ropesgray.com
advised by it

Counsel to Fideicomiso Hernandez Castrodad         Rosendo E. Miranda López,                                r.miranda@rmirandalex.net
                                                   Esq.

Counsel to Gila, LLC                               RPP Law, PSC                   Attn: Roberto L. Prats,   rprats@rpplaw.com
                                                                                  Esq.

Counsel to United Surety & Indemnity               Saldaña & Saldaña              Attn: Héctor Saldaña-     carlos.lugo@saldanalaw.com
Company                                            Egozcue, PSC                   Egozcue, Esq. & Carlos    hector.saldana@saldanalaw.com
                                                                                  Lugo-Fiol, Esq.

Counsel to Morgan Stanley & Co. LLC and            Saldaña, Carvajal & Vélez      Attn: Luis N. Saldaña-    lsaldana@scvrlaw.com
Morgan Stanley Smith Barney LLC                    Rivé, P.S.C.                   Román & Ángel E.          arotger@scvrlaw.com
                                                                                  Rotger-Sabat




                                                                           -47-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                     Desc: Main
                                            Document Page 49 of 63


Counsel to Western Surety Company and               Saldaña, Carvajal & Vélez-     Attn: José A. Sánchez-      jsanchez@scvrlaw.com
Continental Casualty Company, Plaintiffs in         Rivé, PSC                      Girona, Esq.
Adversary Case No. 18-00065, and MapFre
PRAICO Insurance Company
Counsel to Doral Financial Corporation              Salichs Pou & Associates,      Attn: Juan C. Salichs       jsalichs@splawpr.com
                                                    PSC
Counsel to Asociación de Jubilados de la            Sanabria Bauermeister          Attn: Jose R. Dávila-       avb@sbgblaw.com
Judicatura de Puerto Rico, Inc.                     Garcia & Berio                 Acevedo, Arturo V.          avb@sbgblaw.com
                                                                                   Bauermeister, Jaime L.      jsanabria@sbgblaw.com
                                                                                   Sanabria Montanez           jdavila@sbgblaw.com
Counsel to Filsinger Energy Partners, Inc.,         Sanchez Pirillo LLC            Attn: Gustavo Viviani-      gviviani@sanpir.com
Attorneys for Edward D. Jones & Corp. and                                          Meléndez, Janelle Reyes-    jreyes@sanpir.com
counsel for Puerto Rico AAA Portfolio Bond                                         Maisonet, José C.           jsanchez@sanpir.com
Fund II, Inc. Puerto Rico AAA Portfolio Bond                                       Sánchez-Castro, Alicia I.   alavergne@sanpir.com
Fund, Inc. Puerto Rico AAA Portfolio Target                                        Lavergne-Ramírez
Maturity Fund, Inc. Puerto Rico Fixed Income
Fund, Inc. Puerto Rico Fixed Income Fund II,
Inc. Puerto Rico Fixed Income Fund III, Inc.
Puerto Rico Fixed Income Fund IV, Inc. Puerto
Rico Fixed Income Fund V, Inc. Puerto Rico
GNMA & US Government Target Maturity
Fund, Inc. Puerto Rico Mortgage-Backed & US
Government Securities Fund, Inc. Tax-Free
Puerto Rico Target Maturity Fund, Inc. Tax-
Free Puerto Rico Fund, Inc. Tax-Free Puerto
Rico Fund II, Inc. Puerto Rico Investors Bond
Fund I, Inc. Puerto Rico Investors Tax-Free
Fund, Inc. Puerto Rico Investors Tax-Free Fund
II, Inc. Puerto Rico Investors Tax-Free Fund III,
Inc. Puerto Rico Investors Tax-Free Fund IV,
Inc. Puerto Rico Investors Tax-Free Fund V,
Inc. Puerto Rico Investors Tax-Free Fund VI,
Inc. UBS IRA Select Growth & Income in
Adversary Proceeding 19-00367
Counsel to Cooperativa de Ahorro Y Credito          Santi Law Office               Attn: Jose Angel Santini    santilawoffice@yahoo.com
San Jose and Counsel to Cooperativa de Ahorro                                      Bonilla
Y Credito de Barranquitas
Counsel to GG Alternative Energy Corp. and the      Santos Berrios Law Offices     Attn: Juan A Santos-        santosberriosbk@gmail.com
Cooperativa de Ahorro y Credito Oriental            LLC                            Berrios



                                                                            -48-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                                            Document Page 50 of 63


Counsel to NeoMed Center, Inc. and Concilio de     Sarlaw LLC                        Attn: Sergio A. Ramirez     sramirez@sarlaw.com
Salud Integral de Loiza, Inc.                                                        De Arellano

Counsel to Cantor-Katz Collateral Monitor,         Schulte Roth & Zabel LLC          Attn: Douglas Mintz         douglas.mintz@srz.com
LLC                                                                                  Peter Amend                 peter.amend@srz.com

Counsel to Duff & Phelps LLC                       Schulte Roth & Zabel LLC          Attn: Michael L. Cook       michael.cook@srz.com
Scotiabank de Puerto Rico                          Scotiabank de Puerto Rico                                     Roy.purcell@scotiabank.com


Scotiabank de Puerto Rico                          Scotiabank de Puerto Rico                                     Rgf@mcvpr.com
                                                                                                                 Roy.purcell@scotiabank.com

Securities and Exchange Commission -               Securities & Exchange             Attn: Secretary of the      secbankruptcy@sec.gov
Headquarters                                       Commission                        Treasury                    NYROBankruptcy@sec.gov


Securities and Exchange Commission - Regional      Securities & Exchange             Attn: Bankruptcy            bankruptcynoticeschr@sec.gov
Office                                             Commission – NY Office            Department

Counsel to National Public Finance Guarantee       Seda & Perez Ochoa, PSC           Attn: Eric Perez Ochoa      epo@amgprlaw.com
Corporation

Counsel to The Bank of New York Mellon, as         Sepulvado & Maldonado, &          Attn: Elaine Maldonado      anunez@smlawpr.com
trustee, Total Petroleum Puerto Rico Corp.,        Couret                            Matias, Aníbal J. Núñez     emaldonado@smlawpr.com
Siemens Transportation Partnership Puerto Rico,                                      González, Aurivette Deliz   acouret@smlawpr.com
S.E., and Siemens Corporation                                                        Delgado, & Albéniz          adeliz@smlawpr.com
                                                                                     Couret Fuentes              jsantos@smlawpr.com
Counsel to Siemens Transportation Partnership      Sepulvado Maldonado &             Attn: Albéniz Couret        acouret@smlawpr.com
Puerto Rico, S.E.                                  Couret                            Fuentes                     jsantos@smlawpr.com

Counsel to EcoEléctrica, L.P.                      Shearman & Sterling LLP           Attn: Fredric Sosnick       FSosnick@Shearman.com
Counsel to Anne Catesby Jones and Jorge            Shindler, Anderson,               Attn: J. Barton Goplerud,   goplerud@sagwlaw.com
Valdes Llauger, collectively the Marrero           Goplerud & Weese, P.C.            Andrew Howie                howie@sagwlaw.com
Plaintiffs
Counsel to Sierra Club Puerto Rico, Inc. (Sierra   Sierra Club Puerto Rico,          Attn: José Menéndez         jmenen6666@gmail.com
Club PR)                                           Inc.

Counsel to Sola Ltd, Ultra Master Ltd, Ultra NB    Simpson Thacher & Bartlett        Attn: Bryce L. Friedman,    bfriedman@stblaw.com
LLC and Solus Opportunities Fund 5 LP              LLP                               Nicholas Baker              nbaker@stblaw.com



                                                                              -49-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 51 of 63


Counsel to J.P. Morgan Securities, LLC          Simpson Thacher & Bartlett       Attn: Jonathan K.            jyoungwood@stblaw.com
                                                LLP                              Youngwood & David            david.elbaum@stblaw.com
                                                                                 Elbaum
Sistema de Retiro de los Empleados de la        Sistema de Retiro AEE                                         MARIAE.HERNANDEZ@prepa.com
Autoridad de Energía Eléctrica and The Board
Of Trustees
Sistema de Retiro de los Empleados de la        Sistema de Retiro AEE                                         MARIAE.HERNANDEZ@prepa.com
Autoridad de Energía Eléctrica                                                                                carmen.herrero@prepa.com
Counsel to Vitol Inc. and Vitol S.A.            Skadden, Arps, Slate,            Attn: Mark A.                mark.mcdermott@skadden.com
                                                Meagher & Flom LLP               McDermott, & Bram A.         Bram.Strochlic@skadden.com
                                                                                 Strochlic
Counsel to UBS Trust Company of Puerto Rico     Skadden, Arps, Slate,            Attn: Paul J. Lockwood,      Paul.lockwood@skadden.com
                                                Meagher & Flom LLP               Esq

PBA Top 20 Creditor                             Sky High Elevators Corp          Attn: President or General   skyhighelevators@gmail.com
                                                                                 Counsel

Counsel to Autonomous Municipality of Ponce     Stradling Yocca Carlson &        Attn: Paul R. Glassman       pglassman@sycr.com
                                                Rauth, PC

Counsel to American Federation of State,        Stroock & Stroock & Lavan        Attn: Curt C. Mechling &     cmechling@stroock.com
County and Municipal Employees, Plaintiff in    LLP                              Sherry J. Millman            smillman@stroock.com
Adversary Proceedings 17-00242 & 17-00243,
and Intervener in Adversary Proceeding 17-
00250
Counsel to the Ad Hoc Group of Noteholders of   Stroock & Stroock &              Attn: Curtis C. Mechling,    cmechling@stroock.com
FGIC-Insured Notes and American Federation      Lavan, LLP                       Sherry Millman,              smillman@stroock.com
of Teachers, AFL-CIO                                                             Kristopher M. Hansen,        khansen@stroock.com
                                                                                 Jonathan D. Canfield         jcanfield@stroock.com



Counsel to Vitol S.A. and Vitol Inc.            Susman Godfrey LLP               Attn: Alex Kaplan,           akaplan@susmangodfrey.com
                                                                                 Michael C. Kelso, Neal       mkelso@susmangodfrey.com
                                                                                 Manne, Krisina Zuñiga        nmanne@susmangodfrey.com
                                                                                                              kzuniga@susmangodfrey.com
Counsel to Tamrio, Inc.                         Tamrio, Inc.                     Attn: Eng.. Claudio          jlopez@constructorasantiago.com
                                                                                 Torres Serrano




                                                                          -50-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                         Desc: Main
                                             Document Page 52 of 63


Counsel to Asociación Puertorriqueña de             Tanaira Padilla-Rodríguez                                      tanairapadilla@yahoo.com
Profesores Universitarios, Ángel Rodríguez
Rivera, Javier Córdova Iturregui, Heriberto
Marín Centeno, Yohana De Jesús Berríos,
Annabell C. Segarra, Nydia E. Chéverez
Rodríguez, Frances Bothwell del Toro, Lida
Orta Anés, and Ivette Bonet Rivera, Plaintiffs in
Adversary Proceeding 19-00034
PBA Top 20 Creditor                                 Target Engineering S E            Attn: President or General   rebecabarnes@bufetebarnes.com
                                                                                      Counsel

TEC General Contractors, Corp.                      TEC General Contractors,          Attn: Eng. Saul Toledo       Saultoledo22@yahoo.com
                                                    Corp                              Mejias

Creditor and Party-in-Interest                      The Bank of Nova Scotia           Attn: Luis Pablo Bautista    luis.bautista@scotiabank.com
Cantor-Katz Collateral Monitor LLC                  The Collateral Monitor            Attn: Matthew Cantor         Mcantor4@mac.com


Cantor-Katz Collateral Monitor LLC                  The Collateral Monitor            Attn: Richard Katz           rich.katz@torquepointllc.com


Counsel to BEC Co, Inc. d/b/a Empacadora Hill       The Financial Attorneys,          Attn: Rafael Ferreira        rfc@thefinancialattorneys.com
Brothers                                            P.S.C.                            Cintron, Esq.

Counsel to Vitol S.A., Defendant in Adversary       The Law Offices of Andres         Attn: Andres W. Lopez        andres@awllaw.com
Proceeding 17-00221                                 W. Lopez, P.S.C.

Counsel to Oppenheimer Funds, Franklin Funds,       Toro, Colon, Mullet, Rivera       Attn: Manuel Fernandez-      Mfb@tcmrslaw.com
First Puerto Rico Family of Funds, the Ad Hoc       & Sifre, P.S.C.                   Bared, Linette Figuerosa-    Lft@tcmrslaw.com
Group of PREPA Bondholders, and Knighthead                                            Torres, Nadya Pérez-         nperez@tcmrslaw.com
Capital Management, LLC and certain funds and                                         Román, Jane Patricia Van     jvankirk@tcmrslaw.com
accounts managed or advised by it, and                                                Kirk
Invesco/Oppenheimer Funds

TransCore Atlantic, Inc.                            TransCore Atlantic, Inc.          Attn: President or General   Paula.Flowers@TransCore.com
                                                                                      Counsel

Counsel to the United States                        U.S. Department of Justice,       Attn: Laura Hunt, and        rebecca.cutri-kohart@usdoj.gov
                                                    Civil Division                    Rebecca M. Curti-Kohart




                                                                               -51-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                              Document Page 53 of 63


Counsel to the United States of America          U.S. Department of Justice,     Attn: Rebecca Curti-       rebecca.cutri-kohart@usdoj.gov
                                                 Civil Division                  Kohart

Counsel to the United States                     U.S. Department of Justice,     Attn: Thomas G. Ward       Thomas.g.ward@usdoj.gov
                                                 Civil Division

Counsel for Luis J. Costas-Russell               Ubarri & Roman Law              Attn: David W. Roman       doman@ubarri-romanlaw.com
                                                 Office
Unión de Empleados de la Corporación del         Unión de Empleados de la                                   unionecfse@yahoo.com
Fondo del Seguro del Estado                      Corporación del Fondo del
                                                 Seguro del Estado

Unión de Médicos de la Corporación del Fondo     Unión de Médicos de la                                     migade19@hotmail.com
del Seguro del Estado                            Corporación del Fondo del                                  jaimeenriquecruzalvarez@gmail.com
                                                 Seguro del Estado

Counsel to the Government of the United States   United States Attornery for     Attn: Christopher          christopher.connolly@usdoj.gov
of America                                       the Southern District of        Connolly
                                                 New York
Counsel to the United States of America          United States Department of     Attn: Bradley Humphreys    Bradley.Humphreys@usdoj.gov
                                                 Justice

Counsel to the Environmental Protection          United States Department of     Attn: Héctor Vélez Cruz,   velez.hector@epa.gov
Agency                                           Justice                         Associate Regional
                                                                                 Counsel
Counsel to the Environmental Protection          United States Department of     Attn: Mark A. Gallagher    mark.gallagher@usdoj.gov
Agency                                           Justice

Counsel to the United States of America          United States Department of     Attn: Matthew J. Troy,     matthew.troy@usdoj.gov
                                                 Justice Civil Division          Stephen M. Pezzi
                                                                                                            stephen.pezzi@usdoj.gov

Counsel to the United States of America          United States Department of     Attn: Matthew J. Troy,     matthew.troy@usdoj.gov
                                                 Justice Civil Division          Stephen M. Pezzi
                                                                                                            stephen.pezzi@usdoj.gov

Magistrate Judge                                 United States District Court,   Attn: Magistrate Judge     deindprcorresp@mad.uscourts.gov
                                                 District of Massachusetts       Judith G. Dein




                                                                          -52-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                       Desc: Main
                                             Document Page 54 of 63


Counsel to Universal Insurance Company,           Universal Insurance              Attn: Roberto Del Toro        rtoro@universalpr.com
Eastern American Insurance Agency, and            Company                          Morales
Universal Group, Inc.
Counsel to the United States of America on        US Department of Justice         Attn: Ward W. Benson,         wardlow.w.benson@usdoj.gov
behalf of its agencies the Internal Revenue                                        Trial Attorney, Tax
Service and the Alcohol and Tobacco Tax and                                        Division
Trade Bureau
US Trustee for the District of Puerto Rico        US Trustee for the District      Attn: Monsita Lecaroz         USTP.Region21@usdoj.gov
                                                  of Puerto Rico                   Arribas, Maria D.
                                                                                   Giannirakis, & Nancy J.
                                                                                   Gargula
Counsel to Cooperativa de Seguros Múltiples de    Valdes Ortiz Law Offices,        Attn: Hector E. Valdes        hvaldes@v-olaw.com
Puerto Rico                                       PA                               Ortiz

Counsel to creditors Carlos Pérez Molina, Ana     Valenzuela-Alvarado, LLC         Attn: José Enrico             jeva@valenzuelalaw.net
Figueroa Colón and their Legal Partnership of                                      Valenzuela-Alvarado           jose.enrico.valenzuela1@gmail.com
Acquisitions

Attorney for Maria C. Figueroa Torres             Vanessa Hernández                Attn: Vanessa Hernández       hernandezrodriguez.v@gmail.com
                                                  Rodríguez                        Rodríguez

Counsel to Carlos J. Mendez Nunez, in his         Veronica Ferraiuoli                                            vero@ferraiuoli.pr
official capacity and on behalf of the House of   Hornedo
Representatives of Puerto Rico, Plaintiff in
Adversary Proceeding 18-00081
Counsel to National Public Finance Guarantee      Vicente & Cuebas                 Attn: Harold D. Vicente       hvicente@vclawpr.com
Corporation and MBIA Insurance Corporation

Counsel to Carlos J. Mendez Nunez, in his         Víctor Calderón Cestero                                        victor@calderon-law.com
official capacity and on behalf of the House of
Representatives of Puerto Rico, Plaintiff in
Adversary Proceeding 18-00081
Counsel to Learning Alliances, LLC                Vidal, Nieves & Bauzá,           Attn: Roxana Cruz-            rcruz@vnblegal.com
                                                  LLC                              Rivera, Esq.
Counsel to Arcos Dorados Puerto Rico LLC,         Vilariño & Associates LLC        Attn: Javier Vilariño, Esq.   jvilarino@vilarinolaw.com
Encanto Restaurants, Inc, Carnegie Learning,
Inc.
Counsel to Medical Card System, Inc., MCS         Viñas Law Office, LLC            Attn: Ramón L. Viñas          ramonvinas@vinasllc.com
Health Management Options, Inc., and MCS                                           Bueso
Advantage, Inc.


                                                                            -53-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                    Desc: Main
                                            Document Page 55 of 63


Counsel to MCS Life Insurance Company             Viñas Law Office, LLC          Attn: Ramón L. Viñas         ramonvinas@vinasllc.com
                                                                                 Bueso

Counsel to Scotiabank De Puerto Rico              Wachtell, Lipton, Rosen &      Attn: Richard G. Mason,      Rgmason@wlrk.com
                                                  Katz                           Esq., Amy R. Wolf, Esq.,     Arwolf@wlrk.com
                                                                                 Emil A. Kleinhaus, Esq.,     Eakleinhaus@wlrk.com
                                                                                 Angela K. Herring, Esq.      AKHerring@wlrk.com
Counsel to National Public Finance Guarantee      Weil, Gotshal & Manges,        Attn: Kelly Diblasi,         kelly.diblasi@weil.com
Corporation                                       LLP                            Robert Berezin, Todd         gabriel.morgan@weil.com
                                                                                 Larson, Gabriel A.           jonathan.polkes@weil.com
                                                                                 Morgan, Jonathan D.          gregory.silbert@weil.com
                                                                                 Polkes, & Gregory Silbert    robert.berezin@weil.com
Counsel to Elias Sánchez-Sifonte, Attorneys for   Weinstein-Bacal, Miller &      Attn: Stuart A. Weinstein-   swb@wbmvlaw.com
Defendants State Insurance Fund Corporation       Vega, P.S.C.                   Bacal, Peter W. Miller, &    sawbacal@aol.com
and Jesús M. Rodríguez Rosa.                                                     Javier A. Vega-Villalba      pwm@wbmvlaw.com
                                                                                                              prwolverine@gmail.com
                                                                                                              jvv@wbmvlaw.com
                                                                                                              javier.a.vega@gmail.com
Counsel to Doral Financial Corporation and        White & Case, LLP              Attn: Glenn M. Kurtz,        gkurtz@whitecase.com
UBS Family of Funds and the Puerto Rico                                          John K. Cunningham,          jcunningham@whitecase.com
Family of Funds, et al.                                                          Brian D. Pfeiffer, Esq. &    brian.pfeiffer@whitecase.com
                                                                                 Michele J. Meises, Esq.      michele.meises@whitecase.com
Counsel to UBS Family of Funds and the Puerto     White & Case, LLP              Attn: John K.                jzakia@whitecase.com
Rico Family of Funds, et al.                                                     Cunningham, Jason N.         jcunningham@whitecase.com
                                                                                 Zakia, Fernando de la        fdelahoz@whitecase.com
                                                                                 Hoz, Cheryl Tedeschi         csloane@whitecase.com
                                                                                 Sloane, & Jesse Green        jgreen@whitecase.com



Counsel to Union de Empleados de la               Wilbert Lopez Moreno &         Attn: Wilbert Lopez          wilbert_lopez@yahoo.com
Corporacion del Fondo del Seguro del Estado,      Asociados                      Moreno
Asociacion de Empleados Gerenciales del
Fondo del Seguro del Estado Corp., Union de
Medicos de la Corporacion del Fondo del
Seguro del Estado Corp., and and Hermandad de
Empleados del Fondo del Seguro del Estado, Inc
, et al. Plaintiff in Adversary Proceeding 18-
00091



                                                                          -54-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                  Desc: Main
                                              Document Page 56 of 63


Counsel to Softek, Inc. and Insight Management   William M. Vidal-Carvajal         Attn: William M. Vidal-    william.m.vidal@gmail.com
Group, Inc.,                                     Law Office, P.S.C.                Carvajal, Esq.

Counsel to Comité Diálogo Ambiental, Inc., El    William Santiago-Sastre                                      wssbankruptcy@gmail.com
Puente de Williamsburg, Inc.-Enlace Latino de
Acción Climática, Comité Yabucoeño Pro-
Calidad de Vida, Inc. (YUCAE), Alianza
Comunitaria Ambientalista del Sureste, Inc.,
Sierra Club Puerto Rico, Inc., Mayagüezanos
por la Salud y el Ambiente, Inc., Coalición de
Organizaciones Anti Incineración, Inc. and
Amigos del Río Guaynabo, Inc.
Interested Party                                 William Santiago-Sastre,          Attn: William Santiago-    wssbankruptcy@gmail.com
                                                 Esq.                              Sastre, Esq.

Counsel to the Ad Hoc Group of General           Willkie Farr & Gallagher          Attn: Mark T. Stancil      mstancil@willkie.com
Obligation Bondholders                           LLP
Co-Counsel to Bank of America, N.A., Co-         Winston & Strawn LLP              Attn: Carrie V. Hardman    chardman@winston.com
Counsel to Merrill Lynch, Pierce, Fenner &
Smith Inc. and Merrill Lynch Capital Services,
Inc.
Co-Counsel to Merrill Lynch, Pierce, Fenner &    Winston & Strawn LLP              Attn: Joseph L. Motto      jmotto@winston.com
Smith Inc. and Merrill Lynch Capital Services,
Inc.
Counsel to Autonomous Municipality of San        Winston & Strawn LLP              Attn: Leo F. Delgado       ldelgado@winston.com
Juan, Intervenor in Adversart Procedding 19-
00393
Counsel to KDC Solar, LLC                        Wollmuth Maher & Deutsch          Attn: James Lawlor, Esq.   JLawlor@wmd-law.com
                                                 LLP

Counsel to Popular, Inc., Popular Securities,    Young Conaway Stargatt &          Attn: James L. Patton,     jpatton@ycst.com
LLC and Banco Popular de Puerto Rico             Taylor, LLP                       Robert S. Brady, Michael   rbrady@ycst.com
                                                                                   S. Neiburg                 mneiburg@ycst.com




                                                                            -55-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                               Desc: Main
                                            Document Page 57 of 63


                                                                 EXHIBIT B
                                                              Via First Class Mail

DESCRIPTION                  NAME                         NOTICE           ADDRESS 1           ADDRESS 2          CITY         STATE   POSTAL
                                                          NAME                                                                         CODE
Defendant in Adversary       Alan Friedman                                 124 Lander Ave.                        Staten       NY      10314
Proceeding 19-00296                                                                                               Island
Federal Agency               AmeriCorps                   Attn: Kim        1201 New York                          Washington   DC      20525
                                                          Mansaray         Ave., NW
Antilles Power Depot, Inc.   Antilles Power Depot, Inc.   Attn:            PO Box 810190                          Carolina     PR      00981-
                                                          Raymond                                                                      0190
                                                          Texidor
Defendant in Adversary       Banco Popular de Puerto                       Popular Fiduciary   #209 Munoz         Hato Rey     PR      00918
Proceeding 19-00296          Rico, as Trustee                              Services, Popular   Rivera, Ave, 2nd
                                                                           Center North        Level
                                                                           Building
Defendant in Adversary       Bank of New York Mellon                       225 Fifth Ave,                         Pittsburgh   PA      15222
Proceeding 19-00296          as PRIFA Indenture Trustee                    Suite 1200
                             Pursuant
                             to the Trust Agreement
                             Dated as of March 1, 2015


Defendant in Adversary       Candlewood Investment                         555 Theodore                           Rye          NY      10580
Proceeding 19-00296          Group, LP                                     Fremd Avenue,
                                                                           Suite C-303
Intervenor in Adversary      Cohen, Weiss and Simon       Attn:            900 Third Ave       21st Floor         New York     NY      10022
Proceeding 17-00250          LLP                          Hiram M.
                                                          Arnaud
Defendant in Adversary       Cooperativa De A/C                            100 Calle Jose C.                      Aibonito     PR      00705
Proceeding 19-00296          Aibonitena                                    Vazquez
Defendant in Adversary       Cooperativa De Ahorro Y      Attn:            PO Box 19757                           San Juan     PR      00919
Proceeding 19-00296          Credito De Lares             Enrique M.
                                                          Almeida
                                                          Bernal,
                                                          Esq.
PBA Top 20 Creditor          Correction Corporation of    Attn:            10 Burton Hills                        Nashville    TN      37215
                             America                      President or     Boulevard
                                                          General
                                                          Counsel

                                                                         -56-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                               Desc: Main
                                             Document Page 58 of 63


Plaintiff in Adv. Proc. No. 19-   Davidson Kempner Capital                      520 Madison           30th Floor   New York     NY   10022
00364                             Management LP                                 Avenue

Puerto Rico Department of         Departamento de Justicia de                   Apartado 9020192                   San Juan     PR   00902-
Justice                           Puerto Rico                                                                                        0192

Federal Agency                    Department of Defense         Attn:           1400 Defense                       Washington   DC   20301-
                                  (DOD)                         Patrick         Pentagon                                             1400
                                                                Shanahan
Federal Agency                    Department of Energy          Attn: Rick      1000 Independence                  Washington   DC   20585
                                  (DOE)                         Perry           Ave., SW

Federal Agency                    Department of Homeland        Attn:           245 Murray Lane.,                  Washington   DC   20528-
                                  Security (DHS)                Kirstjen M.     SW                                                   0075
                                                                Nielsen
Federal Agency                    Department of Housing and     Attn: Ben       451 7th Street., SW                Washington   DC   20410
                                  Urban Development (HUD)       Carson

Federal Agency                    Department of Human and       Attn: Alex      200 Independence                   Washington   DC   20201
                                  Health Services               Azar            Ave, SW

Federal Agency                    Department of the Interior    Attn: David     1849 C St., NW                     Washington   DC   20240
                                  (DOI)                         Bernhardt

Federal Agency                    Department of                 Attn:           1200 New Jersey                    Washington   DC   20590
                                  Transportation (DOT)          Elaine L.       Ave., SE
                                                                Chao
Federal Agency                    Department of Veterans        Attn:           810 Vermont Ave.,                  Washington   DC   20420
                                  Affairs (VA)                  Robert          NW
                                                                Wilkie
Federal Agency                    Economic and Statistics       c/o Bureau      4600 Silver Hill                   Washington   DC   20233
                                  Administrations               of              Rd.
                                                                Economic
                                                                Analysis
                                                                (BEA)
Federal Agency                    Federal Communications        Attn: Ajit      445 12th St., SW                   Washington   DC   20554
                                  Commission (FCC)              Pai

Federal Agency                    Federal Emergency             Attn: Bob       500 C St., SW                      Washington   DC   20472
                                  Management Agency             Fenton
                                  (FEMA)


                                                                              -57-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                            Document Page 59 of 63


Defendant in Adversary         Fir Tree Partners                            55 West 46th                            New York     NY   10036
Proceeding 19-00296                                                         Street, 29th Floor

Defendant in Adversary         FPA Select Drawdown                          250 West 55th                           New York     NY   10019
Proceeding 19-00296            Fund L.P.                                    Street
PBA Top 20 Creditor            G RG Engineering S E        Attn:            Urb. Belisa 1515                        San Juan     PR   00927
                                                           President or     Calle Bori
                                                           General
                                                           Counsel
Defendant in Adversary         Goldentree Asset                             300 Park Avenue,                        New York     NY   10022
Proceeding 19-00296            Management LP                                20th Floor

Integrand Assurance Company    Integrand Assurance                          PO Box 70128                            San Juan     PR   00936-
                               Company                                                                                                8128
Defendant in Adversary         Ismael Vincenty Perez                        Apt 6105 350 Via                        Trujillo     PR   00976
Proceeding 19-00296                                                         Aventura                                Alto
Counsel to PFZ Properties,     Jack Katz                                    ESJ Towers           6165 Isla Verde    Carolina     PR   00979-
Inc.                                                                                             Ave                                  5729
Defendant in Adversary         Jaime B. Fuster Estate,                      PO Box 363101                           San Juan     PR   00936
Proceeding 19-00296            Comprised By Maria J.
                               Zalduondo Viera
                               and Jaime and Maria L.
                               Fuster Zalduondo


Jaime Rodríguez Avilés         Jaime Rodríguez Avilés                       128 Apartamento      Edificio           Yauco        PR   00698
                                                                            201                  Bernardo Torres,
                                                                                                 Sector La
                                                                                                 Trocha
The Board of Trustees of the   Junta de Síndicos del       Sistema de       PO Box 13978                            San Juan     PR   00908-
Puerto Rico Electric Power     Sistema de Retiro de los    Retiro AEE                                                                 3978
Authority Employees’           Empleados de la Autoridad
Retirement System, Juan        de Energía Eléctrica
Carlos Adrover, Sammy
Ramírez and Alvin Román
Counsel to Kanoso Auto Sales   Kanoso Auto Sales Inc.      Attn: Jose       PO Box 1446                             San German   PR   00683
Inc.                                                       A. Crespo
                                                           Gonzalez,
                                                           President



                                                                          -58-
                   Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                Desc: Main
                                              Document Page 60 of 63


Interested Party                Liberty Cablevision of       Attn:            PO Box 192296                          San Juan    PR   00919-
                                Puerto Rico, LLC             Alexandra                                                                2296
                                                             Verdiales
Counsel to Cooperativa A/C,     Marichal, Hernandez,         Attn:            Triple S Plaza,     9th Floor, Suite   Guaynabo    PR   00968
et.al                           Santiago & Juarbe, LLC       Rafael M.        1510 F.D.           9 B1
                                                             Santiago-        Roosevelt Ave.
                                                             Rosa &
                                                             Vanessa
                                                             Medina-
                                                             Romero
Counsel to Steve Schoenberg     McNamee Lochner P.C.         Attn:            677 Broadway                           Albany      NY   12207
IRA, Steve and Sharon                                        General          #500
Schoenberg, Alyssa Marie                                     Counsel
Schoenberg Grantor Trust, and
SFT Holdings LP
(collectively, the
“Schoenberg/SFT
Bondholders")
Counsel to Metro Pavia Health   Metro Pavia Health System    Attn: Zarel      PO Box 3180                            Carolina    PR   00984
System                                                       J Soto
                                                             Acaba
PBA Top 20 Creditor             Muniz Burgos Contractors,    Attn:            Condominio          680 Calle Cesar    San Juan    PR   00918-
                                Corp.                        President or     Parque De Las       Gonzalez                            3912
                                                             General          Fuentes PH204
                                                             Counsel
N. Harris Computer              N. Harris Computer           Attn:            100 Quannapowitt                       Wakefield   MA   01880
Corporation                     Corporation                  President or     Parkway Suite 405
                                                             General
                                                             Counsel
Defendant in Adversary          Oppenheimerfunds Inc.                         350 Linden Oaks                        Rochester   NY   14625
Proceeding 19-00296
Counsel to Pablo Del Valle      Pablo Del Valle Rivera                        PO Box 2319                            Toa Baja    PR   00951-
Rivera and María A. Martínez,                                                                                                         2319
Tenants in Common and
Fideicomiso Del Valle
Martinez II
Debtors                         Puerto Rico Electric Power   Attn:            PO Box 364267                          San Juan    PR   00936-
                                Authority                    Office Of                                                                4267
                                                             The
                                                             General


                                                                            -59-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                            Desc: Main
                                            Document Page 61 of 63


                                                         Counsel


Members of Creditor's      Puerto Rico Hospital Supply                    Call Box 158                         Carolina     PR   00986-
Committee                                                                                                                        0158
Puerto Rico Industrial     Puerto Rico Industrial        Attn:            PO Box 362350                        San Juan     PR   00936-
Development Company        Development Company           Gabriel                                                                 2350
                                                         Maldonado
PBA Top 20 Creditor        Quintero Construction S E     Attn:            Carr 734 Km 0.5                      Cidra        PR   00739
                                                         President or     Bo Arenas
                                                         General
                                                         Counsel
Defendant in Adversary     Reinaldo Vincenty Perez                        917 Calle Isaura                     San Juan     PR   00924
Proceeding 19-00296                                                       Arnau
Reliable Equipment         Reliable Equipment            Attn:            PO Box 2316                          Toa Baja     PR   00951-
Corporation                Corporation                   Marylin                                                                 2316
                                                         Del Valle,
                                                         General
                                                         Manager,
                                                         Reliable
                                                         Equipment
                                                         Corporation
Defendant in Adversary     Santander Asset                                GAM Tower, 2nd                       Guaynabo     PR   06968
Proceeding 19-00296        Management, LLC                                Floor, 2 Tabonuco
                                                                          Street
Federal Agency             Small Business                Attn: Linda      409 3rd St., SW                      Washington   DC   20416
                           Administration (SBA)          McMahon

SOMOS, Inc.                SOMOS, Inc.                                    1605 Ponce De       Suite 300, San   San Juan     PR   00909
                                                                          Leon Avenue         Martin Bldg.

Defendant in Adversary     Sucesion Francisco Xavier                      PO Box 364643                        San Juan     PR   00936
Proceeding 19-00296        Gonzalez Goenaga

Members of Creditor's      The American Federation of    Attn: Mark       555 New Jersey      11th Floor       Washington   DC   20001
Committee                  Teachers (AFT)                Richard          Ave., NW

Debtors                    The Commonwealth of           Office of        La Fortaleza        63 Calle         San Juan     PR   00901
                           Puerto Rico                   the                                  Fortaleza
                                                         Governor



                                                                        -60-
                  Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06                                 Desc: Main
                                             Document Page 62 of 63


Unión de Médicos de la         Unión de Médicos de la                         PO Box 70344,                          San Juan     PR   00936-
Corporación del Fondo del      Corporación del Fondo del                      CMM33                                                    8344
Seguro del Estado              Seguro del Estado

Members of Creditor's          Unitech Engineering            Attn:           Urb Sabanera        40 Camino de la    Cidra        PR   00739
Committee                                                     Ramón                               Cascada
                                                              Ortiz Carro
Federal Agency                 US Army Corps of               Attn: Todd      441 G St., NW                          Washington   DC   20548
                               Engineers                      T.
                                                              Semonite
Office of the United States    US Attorney for the District   Attn: Rosa      Torre Chardón,      350 Carlos         San Juan     PR   00918
Attorney for the District of   of Puerto Rico                 E.              Suite 1201          Chardón Street
Puerto Rico                                                   Rodriguez-
                                                              Velez, U.S.
                                                              Attorney
Federal Agency                 US Department of               Attn:           1400 Independence                      Washington   DC   20250
                               Agriculture                    Sonny           Ave., SW
                                                              Perdue
Federal Agency                 US Department of               Attn:           1401 Constitution                      Washington   DC   20230
                               Commerce                       Wilbur          Ave., NW
                                                              Ross
Federal Agency                 US Department of               Attn: Betsy     400 Maryland                           Washington   DC   20202
                               Education (ED)                 DeVos           Ave., SW

Federal Agency                 US Department of Health        Attn:           330 C St., SW                          Washington   DC   20201
                               and Services                   Amanda
                                                              Barlow
Federal Agency                 US Department of Justice       Attn:           950 Pennsylvania                       Washington   DC   20530
                               (DOJ)                          William         Ave., NW
                                                              Barr
Federal Agency                 US Department of Labor         Attn:           Office of the       Frances Perkins    Washington   DC   20210
                               (DOL)                          Alexander       Solicitor, N-2700   Building, 200
                                                              R. Acosta                           Constitution Ave




                                                                            -61-
                 Case:17-03283-LTS Doc#:17139 Filed:06/22/21 Entered:06/22/21 16:43:06          Desc: Main
                                            Document Page 63 of 63


Defendants in Adversary          Whitebox Advisors, LLC   Attn: Scott     3033 Excelsior     Minneapolis   MN   55416
Proceeding 19-00296:                                      Specken         Blvd., Suite 300
Whitebox Advisors LLC,
Whitebox Asymmetric
Partners, LP as Transferee of
Syncora Guarantee Inc.,
Whitebox Caja Blance Fund,
LP as Transferee of Syncora
Guarantee Inc., Whitebox GT
Fund, LP as Transferee of
Syncora Guarantee Inc.,
Whitebox Multi-Strategy
Partners, LP as Transferee of
Syncora Guarantee Inc., and
Pandora Select Partners, LP as
Transferee of Syncora
Guarantee Inc




                                                                        -62-
